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 1                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
 2

 3   UNITED STATES OF AMERICA,     )
                                   )
 4             Plaintiff,          ) CR NO.: 21-28
          vs.                      ) Washington, D.C.
 5                                 ) Tuesday, March 7th, 2023
     SANDRA R. PARKER, et al.,     ) 1:30 p.m.
 6                                 )
               Defendants.         ) Day 21
 7   ______________________________) Afternoon Session

 8                  Transcript of Jury Trial Proceedings
                     Before the Honorable Amit P. Mehta
 9                      United States District Judge

10
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 1                           P R O C E E D I N G S

 2              MR. MACHADO:     Your Honor, I'm ready to respond to

 3   the clip that we want to play.       We don't have to do it right

 4   now but I just want to let the court know.

 5              THE COURT:     Okay.   Mr. Rossi is here, so why don't

 6   you go ahead.

 7              MR. MACHADO:     Your Honor, speaking on behalf of Mr.

 8   Brennwald and myself, we have no objection to the clip played

 9   mostly.   There is, however, one portion that I am objecting

10   to, which basically he was asked whether presumably this is

11   the Parkers that he's talking about, the older couple from

12   Ohio that he had a -- that they had patches on Oath Keeper

13   patches on, which I mean, factually is not true and I think

14   there's a Bruton issue there.       And so we would have no

15   objection except for that portion.        Just -- and if they played

16   the rest of it we're not planning to have any issue with

17   regard to cross-examination or calling a witness.           We have no

18   problem with the rest of it.

19              MR. NESTLER:     Those were the words Mr. Isaacs used.

20   That's how he described the older couple from Ohio with Oath

21   Keeper patches on.      And we think that's legitimate to do.          If

22   they think they need to cross-examine Mr. Isaacs about that,

23   we have no problem with that.

24              THE COURT:     If I admitted the portion that part of

25   his description was that they had Oath Keepers patches on,




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 1   what would you -- what would your request then be?

 2              MR. MACHADO:     If the Court allows it, then I guess

 3   a --

 4              MR. BRENNWALD:     We're just going to show pictures in

 5   closing that they didn't have them on, that's all.           I mean,

 6   he's factually incorrect.      So that's why I'm not as worried

 7   about it as Mr. Machado is, but I mean they didn't have Oath

 8   Keeper patches on at any time, it just makes it seem like

 9   Mr. Isaacs is confused.      So I don't really care if it's played

10   or not, Mr. Machado is more concerned --

11              THE COURT:     Well, again, this isn't being played,

12   these are statements that are going to come in through the

13   agent, so --

14              MR. MACHADO:     And perhaps some limiting instruction

15   explaining that the reason it's being introduced is for

16   impeachment purpose and not anything that he said for the

17   truth of the matter.

18              MR. ROSSI:     And, Your Honor, they're going to read

19   his statement, not summarize it?

20              THE COURT:     I don't know that we've quite resolved

21   how that's going to happen.

22              MR. NESTLER:     We have not.    We have another question

23   for the Court to make sure we're operating under the Court's

24   parameters that are being imposed here, which is that we did

25   expect Agent Palian to describe many other facets of the




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 1   debriefing session; how long it took, Mr. Isaacs' demeanor

 2   during the session, how he answered questions, whether he gave

 3   analogies, whether he gave long narrative answers.           So things

 4   that are not statements, but things that Agent Palian observed

 5   from watching it live on the Webex when he was there and also

 6   watching the video of it, we think are all completely fair

 7   game.    And so I wanted to make sure that was okay with the

 8   Court.    Of course, we would again prefer to use the video, but

 9   if we're being precluded from doing so, we would have Agent

10   Palian describe his observations from having been present.

11               MR. ROSSI:     So, Your Honor, the punch line is this:

12   They want to have Agent Palian summarize his demeanor, ability

13   to answer questions and then they want their cake and eat it

14   too, with utmost respect to the government, they want to play

15   the video with their expert.       So they want to have it both

16   ways.

17               MR. NESTLER:     What we want Your Honor is not have a

18   fraud on the jury, which is that Mr. Isaacs operated very

19   differently on March 18th, 2021 for three hours while being

20   interviewed about the same topic that he did here on the

21   stand.    And the jury does not understand that.        And our point

22   is to make sure the jury understands the difference.           And the

23   best way we can accomplish that is by showing the video.               If

24   we can't do the video, we'll go to the next best option.

25               MR. ROSSI:     Your Honor, I think it's fair to say




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 1   that Mr. Isaac yesterday did not commit a fraud upon the Court

 2   or the jury.    No. 2, in a controlled environment, which Dr.

 3   Sperry and their doctor will say, things are a lot different.

 4   That was an extremely controlled environment in which someone

 5   with Mr. Isaacs ASD can handle.        What happened on January 6 is

 6   whole 180 degrees different, so --

 7              THE COURT:     Well, the issue is not --

 8              MR. ROSSI:     I don't like the word "fraud."

 9              THE COURT:     The issue is not -- the issue is not his

10   demeanor and his ability to handle what happened on January 6,

11   it's a comparison of how his demeanor was during the debrief,

12   during the proffer session, which -- and I've seen the clips

13   he wasn't wearing a set of headphones, now it was a small

14   room, it was a friendlier examination.

15              MR. ROSSI:     I proffer this, Your Honor, no pun

16   intended, we may have to call Mr. Green as a witness, because

17   he will say Mr. Charles Greene will say that during the

18   interview he had to call for a break because he could see

19   signs of his ASD kicking in, including flapping.           So they're

20   going to open a Pandora's box to having my co-counsel as a

21   witness.

22              MR. NESTLER:     That all came out on the video.        We're

23   happy to play all three hours.       The point for the Government,

24   Your Honor, is that he -- it was a very similar environment,

25   he was being asked questions by FBI agents and myself and by




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 1   Mr. Greene.    I think the way Mr. Greene asked him questions

 2   yesterday was far more combative than the way the FBI agents

 3   and myself asked him questions on March 18th of 2021.           And the

 4   jury ought to be able to see how he was able to answer

 5   questions, including coming up with his own analogies, coming

 6   up with his own perceptions about what people were doing, why

 7   they were doing certain things.         And so we think it's

 8   important for the jury to hear that he was able to do all

 9   that.

10              MR. ROSSI:     Does the government really believe that

11   the Court's going to allow the playing of a three-hour

12   videotape interview?      That's absurd.

13              THE COURT:     No, I don't think they think that.           I

14   think the question is -- we'll take this up later.

15              MR. ROSSI:     Okay.     Thank you, Judge.

16              (Jury entered the courtroom.)

17              THE COURT:     Okay.     Welcome back, everyone.    Have a

18   seat.   As much as I hate to do this, I need to get on the

19   phone first before we continue the testimony.

20              (Bench conference on the record.)

21              MR. SHIPLEY:     Can you hear me?

22              THE COURT:     I can.

23              MR. SHIPLEY:     We went through the report on

24   Mr. Greene's phone.     These are not sequential messages.         There

25   are other users in there.         There are multiple messages in




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 1   between what the government wants to put up as context and

 2   Mr. Greene's message.     There are website links.       There's a

 3   YouTube video.    So I think it's not at all clear that

 4   Mr. Greene is responding.      I mean, the messages talk about,

 5   you know, anarchists and, you know, other kinds of, you know,

 6   antigovernmental efforts.

 7              So I don't think it's at all fair to say that the

 8   two messages in advance of Mr. Greene's messages are messages

 9   he's responding to.     So I mean Mr. Greene's words are

10   Mr. Greene's words, I don't know that they're relevant because

11   they come so far after but, you know, that's a different

12   question for you.     But I don't think the two messages that

13   come before it are fairly introduced as being contextual.

14              MS. RAKOCZY:    So Your Honor, I'm not sure if Mr.

15   Shipley had a chance to review what we sent over the lunch

16   break, but we created an exhibit that is going to be called

17   Exhibit 9218.1, which we took screenshots from Axiom, which is

18   the program, that's A-x-i-o-m, which is the program that was

19   used to extract -- one of the programs used to extract data

20   from Mr. Greene's phone by the FBI.        When you look at the

21   messages in Axiom, they are almost sequential in 9218, the one

22   we showed during lunch, pages 1 and 2 of that exhibit are then

23   followed by a message by a third party, and then the fourth

24   message is what we had on page 3.

25              There is, I think, that the reason why when there




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 1   was an Excel report created of this chat, from which we

 2   created the original 9218, I think the reason why the numbers

 3   are so off is that the Axiom program segregates SMS messages

 4   versus MMS, or I'm not sure if that's the exact wording when

 5   you talk about Signal messages, but essentially Axiom

 6   segregates out the messages with multimedia attached into a

 7   different portion of the chat when the report is extracted.

 8   And that's why when we originally created this, the numbering

 9   system we used suggested it was so far off.         But when you look

10   at it in Axiom in the way we have portrayed in the screenshots

11   from 9218.1, you can see that it's essentially -- there's one

12   message between the first two and Mr. Greene's message, which

13   is the fourth in the excerpt we with want to show.

14                MR. SHIPLEY:    But that doesn't establish that

15   Mr. Greene is responding to those messages.         He could be

16   responding to the message 6 from above.

17                MR. WOODWARD:    Your Honor, the problem -- this is

18   Mr. Woodward.     The problem I have with the Government's

19   Exhibit is it doesn't match the data that was produced in

20   discovery.     The scoped version of the phone that the

21   government produced to us does not contain all of the messages

22   that the government is referencing.        I created my own report

23   over the break, and as Mr. Shipley notes there are links to

24   websites, as well as a YouTube video that is no longer active,

25   that were sent also preceding Mr. Greene's message.           So it's




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 1   entirely unclear what message Mr. Greene is responding to.

 2              THE COURT:     Hang on.     Can I ask the government just

 3   to put the exhibit back up, because you'll forgive me, I don't

 4   remember the sequencing and what the contents are.          So could

 5   we just put it up, please.

 6              MS. RAKOCZY:     So I'm showing now what's

 7   government exhibit 9218 --

 8              THE COURT:     No, I mean the other one.      The one we

 9   were looking at before the break.

10              MS. RAKOCZY:     Yes, Your Honor.     That's the first

11   message.

12              THE COURT:     All right.

13              MS. RAKOCZY:     Now we're showing the second

14   message.

15              THE COURT:     Okay.   Next one please.     So what you

16   sent me Ms. Rakoczy, does it contain -- does it reflect when

17   Mr. Greene's message was the -- that fourth one, oh, I see it

18   here.   Okay.

19              MR. SHIPLEY:     The problem, though, is there's like

20   eight or ten messages in a row there and they're all the same

21   subject matter.    So to say that Mr. Greene responding to the

22   two the government picked is pure speculation.          There are

23   other messages the jury won't see, Mr. Greene won't see.

24              THE COURT:     Can I just think this through for a

25   second, please.




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 1              MR. SHIPLEY:     Apology.

 2              THE COURT:     So Ms. Rakoczy, why are we not seeing

 3   that fourth message in the column view, it's supposed to be --

 4   in the bubbles over at the side it says it's at 4:41 and

 5   follows the, put up your black flags and fight or fill the

 6   water bottles for those in the game.         And then at least the

 7   review that has the column view doesn't reflect Mr. Greene's

 8   message.

 9              MS. RAKOCZY:     Yes, Your Honor, my understanding from

10   having looked at Mr. Greene's Axiom phone report with Kate

11   Cane, the CART examiner who has assisted the government in

12   this case, when I looked at this report with her roughly a

13   week ago in preparing for Mr. Greene's cross-examination, she

14   explained to myself and our WFO agents that Axiom's -- it

15   appears parses in one Signal group messages with multimedia

16   attached versus messages without multimedia attached.           So you

17   essentially see two chronological versions of the same chat

18   when you do the export report.         And one part is the messages

19   without multimedia.     And then you see the chat start over

20   again, essentially chronologically, and then you see the

21   messages with the multimedia attached, that's my best way of

22   trying to parrot what somebody who is more of an expert in

23   this field than I am told me.

24              THE COURT:     But do any of these contain multimedia

25   such that, for example, Mr. Greene's message would not be




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 1   included in the column view?

 2              MS. RAKOCZY:     That is my understanding of why

 3   they're parsed.    I don't know which do and which don't,

 4   whether it's the first two messages that do, or the first

 5   three messages, if you look at 9218.1 or whether it's

 6   Mr. Greene's message, but that is my understanding.            And if

 7   you look at the chronology, in terms of the time stamps of the

 8   messages, there is no message that appears chronologically

 9   between the third message and the fourth message.            The fourth

10   message being Mr. Greene's.       There's just none other with a

11   time stamp in that time period that I could see.

12              THE COURT:     Okay.   Here's what I'll allow.       Just

13   because of some of the confusion of this, I'll allow the

14   government to show the first and fourth slide, which are

15   Mr. Greene's actual statements and his words.          And then we'll

16   exclude the two -- the two statements that are in between from

17   others that the government wish to provide context for just

18   because of some of the uncertainty of how this is coming out

19   and what he may or may not be responding to.         So --

20              MS. RAKOCZY:     Just to be clear, Your Honor, I think

21   the first message is not from Mr. Greene.

22              THE COURT:     Oh, I'm sorry, I thought the first and

23   the fourth were from him.

24              MS. RAKOCZY:     I think just the fourth.      Well, the

25   fourth in actual chronology, page 3 of the Exhibit 9218.




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 1                THE COURT:     I see.    Okay.

 2                MS. RAKOCZY:     Understood, Your Honor.

 3                THE COURT:     All right.    Let's just do it that way.

 4   The last statement can come in.

 5                MS. RAKOCZY:     Thank you, Your Honor.

 6                (The following proceedings were had in open court.)

 7                               CROSS-EXAMINATION

 8   BY MS. RAKOCZY:

 9   Q.   Good afternoon, Mr. Greene.

10   A.   Good afternoon.

11   Q.   So before the break you were telling us that -- we were

12   talking a little bit about the operation in Louisville; do you

13   remember that?

14   A.   Yes.

15   Q.   Okay.    I believe I asked you whether the people in that

16   parking lot in Louisville told you and the other Oath Keepers

17   were inflaming the situation and you said no; do you remember

18   that?

19   A.   Yes.

20                MS. RAKOCZY:     Okay.    I would like to bring up now

21   just for the witness what's been marked as Exhibit 9110, and

22   we will come up to time stamp 9 minutes and 40 seconds.

23                Your Honor, the government is going -- can ask some

24   foundational questions, but we will be seeking to admit and

25   play for the jury what we'll mark as Government's Exhibit




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 1   9110.1, which will be from the time stamps 9 minutes and 40

 2   seconds through the time stamp 10 minutes and 4 seconds of the

 3   larger video, Exhibit 9110.

 4                THE COURT:     Okay.   Any objection?

 5                MR. WOODWARD:     9110 is already admitted?

 6                MS. RAKOCZY:     No.

 7                MR. SHIPLEY:     I want to reserve on that, Your Honor,

 8   until I have a chance the see what the government --

 9                MR. WOODWARD:     Objection.    Foundation.

10                THE COURT:     The objections are overruled and I'll

11   permit the government having --

12                MS. RAKOCZY:     Thank you.    So we're going to bring up

13   on the screen now what will be admitted as Exhibit 9110.1,

14   which is just for the record, between 9 minutes and 40 seconds

15   through 10 minutes and 4 seconds of Exhibit 9110.          And if we

16   could publish for the jury.

17   Q.   (BY MS. RAKOCZY)       Mr. Greene, do you recognize the parking

18   lot that we see depicted here?

19   A.   Yes.

20   Q.   This is the same parking lot that you and other Oath

21   Keepers began or staged at in your Louisville operation in

22   September of 2020; correct?

23   A.   Yes.

24   Q.   Okay.    You see the Oath Keepers patch on the vest of the

25   person in camera view?




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 1   A.   Yes.

 2   Q.   Okay.    Let's just play this clip through once, please,

 3   through 10 minutes and 4 seconds.

 4                (Video played.)

 5   Q.   (BY MS. RAKOCZY)       Mr. Greene, and we can take that down,

 6   thank you.      Mr. Greene did you hear what the woman said in

 7   that clip?

 8   A.   I heard what they said, yeah.

 9   Q.   So -- thank you.       Before the break we were also talking

10   about the November 14th Oath Keeper operation in Washington

11   D.C., do you remember talking about that?

12   A.   Yes.

13   Q.   Okay.    You told us before the break that you had nothing

14   to do with Mr. Rhodes's operation in D.C. on November 14th; is

15   that right?

16   A.   Correct.

17   Q.   Okay.    I'd like to bring up now just for the witness

18   Government's Exhibit 10063, please.

19         Do you see on the screen Mr. Greene, a message from

20   Stewart Rhodes to a chat called DC OP Leader Chat?

21   A.   Yes.

22   Q.   And is this message from November 14th of 2020?

23   A.   Yes.

24                MS. RAKOCZY:     Your Honor, pursuant to the prior

25   stipulation regarding data extraction from Stewart Rhodes's




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 1   phone we would seek to admit Exhibit 10063.

 2               MR. WOODWARD:    No objection.

 3               THE COURT:   Exhibit 10063 is admitted.

 4   Q.   (BY MS. RAKOCZY)    We seek to publish.      So, Mr. Greene,

 5   this message is from November 14th, 2020; correct?

 6   A.   Yes.

 7   Q.   And that was the date of the Million MAGA March in D.C.;

 8   right?

 9   A.   Yes.

10   Q.   This message is from Mr. Rhodes; correct?

11   A.   Yes.

12   Q.   And this is to the DC OP Leaders Chat; right?

13   A.   Yes.

14   Q.   And on November 14th in the morning, Mr. Rhodes wrote to

15   this chat, This is a chat for leadership on the DC OP today;

16   correct?

17   A.   Yes.

18   Q.   You were one of the people Mr. Rhodes put in this chat;

19   correct?

20   A.   Probably, more than likely.

21   Q.   And this chat was downloaded from your phone; right?

22   A.   I don't know where you downloaded it from, but I was part

23   of several chats with Stewart.

24   Q.   This chat was on your phone; right?

25   A.   I can't say for sure.     Did you download it from my phone?




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 1   Q.   Okay.   Mr. Greene, you have said multiple times on

 2   cross-examination prior to the break that you haven't seen

 3   your phone in three years, do you recall saying that?

 4   A.   Yeah, I haven't seen it since they took it.         That's really

 5   like two years.

 6   Q.   About 18 months?

 7   A.   About two years.

 8   Q.   Okay.   You can take that down.

 9         You told us on direct examination, though, that you have

10   been sitting in your attorney's basement reviewing discovery

11   for the last while; correct?

12   A.   That's kind of an analogy.      What I said was, I've been in

13   my attorney's basement playing Xbox games looking at court

14   stuff.

15   Q.   And to be clear the extraction of the data from your cell

16   phone was provided to you in discovery materials; correct?

17   A.   I think so, yeah.

18   Q.   So it's not really fair to say you haven't seen the data

19   on your phone since it was seized; correct?

20   A.   I haven't seen every single piece, no, but I have seen

21   some things.

22   Q.   Okay.   Now, before the break I asked you whether you were

23   a member of a chat called the Flower Shirt Group; do you

24   recall that question?

25   A.   Yes.




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 1   Q.     Let's bring up on the screen now government's -- just for

 2   the witness for the moment, Government's Exhibit 9218, please,

 3   page 3.

 4                  MS. RAKOCZY:     And we will seek to admit what we will

 5   call 9218.1, which is just page 3 of this exhibit.

 6                  THE COURT:     That will be admitted subject to the

 7   discussions at the bench.

 8                  MS. RAKOCZY:     Thank you.   And if we may publish

 9   now.

10   Q.     (BY MS. RAKOCZY)       Mr. Greene, this is a chat called the

11   Flower Shirt Group chat; do you see that?

12   A.     Yes.

13   Q.     And this is a chat that was on your phone; right?

14   A.     If you say so.

15   Q.     And this is your phone number in the "from" field in the

16   top left; correct?

17   A.     Yes.

18   Q.     So on January 18th, you wrote to the Flower Shirt Group

19   chat, With all the crooked politicians currently in office, we

20   could probably use a reset; correct?

21   A.     Looks like it, yes.

22   Q.     Okay.    And you sent this message on January 18th; right?

23   A.     Yes.

24   Q.     Two days before the inauguration of Joseph Biden;

25   correct?




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 1   A.   Yes.

 2   Q.   The Flower Shirt Group chat was a group chat for a group

 3   called the Boogaloo boys; right?

 4   A.   No.

 5   Q.   You're familiar with the Boogaloo boys; right?

 6   A.   I am.

 7   Q.   They are a group that leans towards the right end of the

 8   political spectrum; correct?

 9   A.   They are also very racist.

10   Q.   And they are a group that was advocating for a second

11   civil war in this country; correct?

12                MR. SHIPLEY:     Objection.   Lack of foundation.

13   A.   I don't know the premise of the Flower Shirt Group, but

14   just because --

15                THE COURT:     Go ahead, Mr. Greene.     The objection is

16   overruled.     Cross-examination.      He can answer if he knows the

17   answer to the question.        Go ahead.

18   Q.   (BY MS. RAKOCZY)       Go ahead, Mr. Greene.     You were

19   answering.

20   A.   I can say for sure I'm not a part of any Boogaloo boys

21   group, because of the fact that they're a predominantly racist

22   group.

23                MS. RAKOCZY:     Okay.   Thank you.    Ms. Rouhi, you can

24   take that down.

25                THE COURT:     Ladies and gentlemen, if I could just




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 1   give you a limiting instruction, please, 9218.1 that you've

 2   just seen, that exhibit is admitted only against Mr. Greene.

 3   Q.   (BY MS. RAKOCZY)    Mr. Greene, you thought that there was

 4   fraud in the 2020 presidential election; correct?

 5   A.   I think that there's fraud in every election.         That's why

 6   I don't vote.

 7   Q.   So you thought there was fraud in the 2020 election;

 8   right?

 9   A.   Yeah, more than likely.

10   Q.   And you thought that that fraud might cause anger among

11   Americans; right?

12   A.   Every fraud would cause anger amongst Americans.          Here's

13   the thing about elections, most black communities think

14   elections been rigged since about the 80s or 90s.          So me

15   saying that elections are rigged is me just saying elections

16   are rigged.     It's what I believe.    I don't vote.     I don't get

17   into politics because of shit like that.

18   Q.   And you told us that the security you were providing was

19   bipartisan; right?

20   A.   Yes.

21   Q.   But in November of 2020 through January of 2021, you were

22   only providing security for groups that were advocating

23   against the steal of the election; correct?

24   A.   That's who was hiring me.      I mean, but I'm sure you went

25   through my phone, did you see the pictures of me and Elizabeth




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 1   Warren?    Did you see the pictures of me and Arthur Rowley, two

 2   democrats.

 3   Q.    Were those from November of 2020 through January 2021?

 4   A.    No, it wasn't from November through January, but I work

 5   for anybody if they're willing to pay my fees.          I don't care

 6   if they're Republican, Democratic, Libertarian, Independent.

 7   At the time this is who was paying me, so this is who I was

 8   working for.

 9   Q.    And Stewart Rhodes was paying you in the period of

10   November of 2020 through January of 2021; right?

11   A.    Correct.

12   Q.    And Stewart Rhodes in that time period was advocating for

13   the opposition, by any means necessary, up to and including

14   force of the election results; correct?

15   A.    Stewart Rhodes was advocating for a lot of stuff.         Now, I

16   can't speak to Stewart's personal beliefs or personal

17   thoughts, but as far as I'm concerned, I'm going to do the

18   security job that he pays me to do.        He's not paying me to

19   fight any wars against politicians.        He's not paying me to

20   storm any capitols.      He's not paying me to remove any

21   politicians, because that's not the kind of stuff that I would

22   do.    Especially not for Stewart Rhodes.      Especially not for an

23   Oath Keepers group who honestly couldn't sustain battle, they

24   had too many old members.

25   Q.    Going back --




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 1   A.   Stewart pays me for security, I do security.         Stewart has

 2   thoughts and beliefs, Stewart has thoughts and beliefs.           The

 3   words of Stewart Rhodes are the words of Stewart Rhodes.           The

 4   thoughts of Stewart Rhodes are the thoughts of Stewart Rhodes.

 5   Not Mike Greene.     What Stewart think doesn't make me shit.

 6   Q.   Let's bring up what's already admitted as Government's

 7   Exhibit 4604.     And if we could please go to page 11 towards

 8   the bottom.     Could you go up one page, sorry, to page 10.

 9   Could we zoom in on the part that has a highlight next to it.

10         Mr. Greene, this is from Mr. Rhodes's second open letter

11   to President Trump; right?

12   A.   I suppose, yeah.    I never read his letters to Trump, I

13   knew about them.

14   Q.   Okay.    And in this open letter Mr. Rhodes said, If you

15   fail to do your duty, you being President Trump, you will

16   leave we the people no choice but to walk in the founder's

17   footsteps; do you see that?

18   A.   Yes.

19   Q.   Mr. Rhodes went on to say that he and we would be forced

20   to declare the regime illegitimate, incapable of representing

21   us, destructive of the just ends of this government, and to

22   secure our liberty to be a mere puppet of a deadly foreign

23   enemy; do you see that?

24   A.   Yes.

25   Q.   Mr. Rhodes went on to warn President Trump that like the




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 1   founding generation, we will take up arms -- take to arms in

 2   defense of our God given liberty, we will declare our

 3   independence from that puppet regime and we will fight for our

 4   liberty; do you see that there?

 5   A.   Yes.

 6   Q.   And this is the man from whom you collected a paycheck to

 7   be the operations leader; right?

 8   A.   Operations leader for security operations on the day of

 9   January 6 and January 5th, yes.

10   Q.   The same day that two different groups of people under

11   your and Mr. Rhodes's leadership stormed the Capitol; right?

12   A.   Anybody who stormed the Capitol did so under their own

13   recognizance.     I gave no orders to go to the Capitol.        I gave

14   no orders to storm the Capitol.       I gave no orders to enter

15   into the capitol.     So again, the thoughts of Stewart Rhodes

16   and the words of Stewart Rhodes is the thoughts and words of

17   Stewart Rhodes.     And any member of Stewart Rhodes' Oath Keeper

18   organization went in the Capitol, it's on their own.

19   Q.   And how about those who called people to the Capitol, they

20   did so on their own; right?

21   A.   I'm sorry?

22   Q.   How about those who called people to the Capitol, that

23   would have been their decision and not Mr. Rhodes's; right?

24   A.   I don't know anybody who called anybody to the Capitol,

25   that's -- you know, it has nothing to do with what I did.




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 1   Q.    All right.   Let's get back to that in a second.        This open

 2   letter you said you were aware of; correct?

 3   A.    I was aware of it, yes.

 4   Q.    And you heard Mike Adams testify on the stand that he left

 5   the Oath Keepers because of messages like this; right?

 6   A.    Yes.

 7   Q.    Because he didn't want to be part of the we; right?

 8   A.    I'm sorry?

 9   Q.    He did not want to be part of that we that would

10   essentially foment a revolution if the president didn't stop

11   the election; right?

12   A.    I mean, if Mike Adams is not man enough to stand up for

13   his own, then he can fall into the words of the we, as terms

14   of somebody else telling him what to do, then I suppose not.

15   Q.    All right.   But you're man enough to stick with Stewart

16   Rhodes when he's saying things like this?

17   A.    I didn't stick with Stewart Rhodes.      He paid me for a job,

18   I did the job.     If that's how Stewart felt, that's how Stewart

19   felt.    When I was done with the job I went home.        Stewart went

20   elsewhere.     Stewart did other things.     Stewart sent more

21   messages.     I didn't do any of that.     That's not what I was

22   on.

23   Q.    Let's take down this exhibit and let's talk about what you

24   were on.     In the time period of November of 2020 through

25   January of 2021, you participated in more than 200 phone calls




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 1   with Mr. Rhodes; right?

 2   A.   Say that again?

 3   Q.   In the time period of November of 2020 through January of

 4   2021, you participated in more than 200 phone calls with

 5   Stewart Rhodes; right?

 6   A.   Probably.

 7   Q.   And in that same time period you participated in at least

 8   100 direct text messages with Mr. Rhodes; right?

 9   A.   Probably.

10   Q.   And that's to say nothing of all of the Signal group chats

11   that you participated in for his November, December, and

12   January D.C. operations; right?

13   A.   Oh, yeah.   I'm sorry, yes.

14   Q.   So in the weeks after the November 2020 election, you

15   chose to come to Washington D.C. for November 14th of 2020;

16   correct?

17   A.   Yes.

18   Q.   If we could bring up Government's Exhibit 1002 please, and

19   go to page 2 of the exhibit.       And just zoom in on the top half

20   of the page, please.

21         This is Mr. Rhodes's call to action for D.C. on November

22   14th; right?

23   A.   I suppose, yes.

24   Q.   And on November 10th of 2020, Mr. Rhodes issued this call

25   to action, to march on D.C., stop the steal, defend the




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 1   president and defeat the deep state; correct?

 2   A.   If that's what you're putting up there.

 3   Q.   And you came to D.C. to be part of that operation;

 4   right?

 5   A.   Negative.    I came to D.C. for the protection of Kellye

 6   SoRelle.

 7   Q.   And you were put on the Ops Leaders Chat for that chat --

 8   for that operation?

 9   A.   If he put me on the chat it was to know what the security

10   operation was.     I mean, he wanted me to hear the security

11   plan.     But again, I was only there for the protection of

12   Kellye SoRelle.

13   Q.   Okay.    Thank you, Ms. Rouhi, we can take that down.

14           And after November 14th, you went to Atlanta with

15   Mr. Rhodes and the Oath Keepers; correct?

16   A.   Went to Atlanta with Kellye SoRelle.        Stewart was there as

17   well, but I was, again, paid to protect Kellye SoRelle while

18   she spoke at a stop the steal rally at the Georgia capitol.

19   Q.   Let me stop before we get to Atlanta, actually.          Let's

20   talk about November of 2020 in D.C.        You told us on direct

21   examination that for the November 14th operation you went to

22   someone named Thomas Caldwell's farm.        Do you remember talking

23   about that?

24   A.   Yeah, we met at Thomas Caldwell's farm.

25   Q.   Okay.    And Mr. Rhodes was there as well; right?




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 1   A.   Yes.

 2   Q.   And maybe a dozen, two dozen other Oath Keepers; right?

 3   A.   Yes.

 4   Q.   And at that farm meeting, Mr. Rhodes addressed the Oath

 5   Keepers who were gathered; correct?

 6   A.   Yes, he addressed them.

 7   Q.   And at that meeting, either at the meeting or elsewhere,

 8   you told us Mr. Rhodes discussed that the Oath Keepers needed

 9   to be prepared to go to the White House to fight against the

10   National Guard, do you remember telling us that?

11   A.   He didn't say anything about fight the National Guard.            He

12   was talking about people who were going to try to attempt to

13   remove Trump from the White House, that's why he wanted to arm

14   QRM for.

15   Q.   Okay.     And was he saying this to the whole group at

16   Caldwell's farm or a smaller circle?

17   A.   I can't remember exactly how many of the people at

18   Caldwell's farm, it was a group of them he was talking to.

19   Q.   And in addressing these people at Caldwell's farm, he said

20   that the Oath Keepers needed to bring their guns to the White

21   House; correct?

22   A.   No.     What he said was if the White House will be overran

23   or, you know, however he put it, and Trump was to declare the

24   Insurrection Act, that the Oath Keepers needed to be ready as

25   the militia to come into D.C. and defend the White House.




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 1   And, again, once he told me about his QRF plan and, you know,

 2   I told you what I thought about it.

 3   Q.   And Mr. Rhodes -- isn't it true that Mr. Rhodes said that

 4   the force that might be coming in to remove President Trump

 5   from power was national guardsmen sent by Nancy Pelosi?

 6   A.   No, I don't remember him saying that, but --

 7   Q.   And this meeting in which Mr. Rhodes is saying these

 8   words, that was in a building that no one was allowed to bring

 9   their cell phones in; right?

10   A.   I don't remember a building with nobody allowed to bring

11   their cell phones.     I mean, I had my cell phone.

12   Q.   Don't you remember Mr. Rhodes telling people to leave

13   their cell phones in their cars?

14   A.   I don't by verbiage, no, but like I said I had my phone.

15   Q.   And Mr. Rhodes asked that the windows be either blacked

16   out or covered with curtains; right?

17   A.   You talking at Caldwell's farm.

18   Q.   Yup.

19   A.   The garage he was standing in didn't have any windows it

20   was like -- I don't remember any windows being there.           It was

21   like a fucking door, you walk in and they were, you know, they

22   were having conversation.

23   Q.   And the doors were locked before this meeting began;

24   right?

25   A.   I don't know about the doors being locked before the




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 1   meeting began.     Like I walked in when he was talking, the door

 2   wasn't locked when I walked in.       And so, you know, when I

 3   left, I don't remember anybody coming in or out.          But, you

 4   know, so I don't know about any locked doors, I don't know

 5   about him telling anybody to leave their phones.          Like I say

 6   when I walked in I had my phone.       They were having a

 7   conversation and he was talking about the need for an armed

 8   QRF.     And when I walked out they were still having a

 9   conversation.     So I don't know if the doors were locked.          I

10   don't know if he told anybody to leave their phone, but that's

11   what was going on.

12   Q.     And Mr. Rhodes told you and other Oath Keepers that the

13   Oath Keepers needed to be prepared to have an armed quick

14   reaction force to go to the White House to fight to keep

15   President Trump in power; right?

16   A.     It's not what he said.   What he said was he wanted a QRF

17   in case people from the so-called left would try to remove

18   Trump by force from the White House.

19   Q.     The so-called left including politicians on the left;

20   right?

21   A.     And like I was saying, and Trump invokes Insurrection Act,

22   he thought that they would get called as the militia.           So he

23   wanted to be quote, unquote, ready for combat if Trump called

24   after somebody tried to forcefully remove him.          Now, once I

25   told him what I thought about it, we laughed about it, but he




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 1   still wanted to keep the QRF plan.

 2   Q.   Mr. Rhodes is calling for the Oath Keepers to be ready for

 3   combat to go to the White House; right?

 4   A.   No.    You keep saying the same thing, I'm going to keep

 5   giving you the same answer.

 6   Q.   And you laughed about this idea; right?

 7   A.   Yes.    It's a crazy fucking idea to think that anybody's

 8   going to be able to storm the White House, regardless of who

 9   they are.     The White House has an arsenal.      You're not going

10   to be able to do it.     And, you know, Stewart laughed with me.

11   But he still wanted to have a armed QRF, just in case somebody

12   could physically armed take over the White House and

13   forcefully remove Trump, and Trump was to call in the

14   Insurrection Act to call the Oath Keepers up as a militia.             I

15   mean, it's a crazy idea.      But again, that's Stewart Rhodes.

16   Q.   And you kept associating with Mr. Rhodes; right?

17   A.   I mean, I took the job, it wasn't no -- like I said

18   that's -- those are his thoughts, like I said his words don't

19   move me.     His words are not going to make me want to do harm,

20   or his words are not going to make me want to be a

21   revolutionary against my government that I spilled blood and

22   cried for overseas.     It's -- I mean, it's a crazy idea that

23   anybody could storm the White House and overthrow the

24   president.

25   Q.   This man who's calling for revolution against the country




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 1   that you served, you kept taking a paycheck from him; right?

 2   A.   I took a paycheck from him.

 3   Q.   And you kept --

 4   A.   Listen, he's not the only fucking person I've ever heard

 5   talking about, oh, it's going to be a civil war.          Like I said

 6   before, you go to barbershops you hear that kind of talk.

 7   It's like to me it's Stewart being Stewart.         Now whether or

 8   not he absolutely believe it is one thing.         But he absolutely

 9   thought there was going to be armed people trying to

10   forcefully remove Trump.      So he wanted to have a armed QRF in

11   November for the Million MAGA March.

12   Q.   Then he organized an armed QRF for the January

13   operation?

14   A.   Armed QRF wasn't a part of my security plan.         So if

15   Stewart organized an armed QRF, that's what Stewart did.            But

16   as far as my security plan went, there was no QRF.

17   Q.   Because you had no idea there was a QRF; right?

18   A.   I didn't know there was a QRF until after I started

19   learning about stuff going on in the investigation.           But

20   again, my security plan didn't call for a QRF because you

21   couldn't get a vehicle in there.       There was going to be people

22   there, you wouldn't be able to get a vehicle into them.

23   Q.   That's why there were boats; right?

24   A.   I'm sorry?

25   Q.   That's why there were boats; right?




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 1   A.   Have you thought about the logic of carting weapons from

 2   wherever the water's going to be, wherever the boats are going

 3   to come, to the Capitol.      And then look at who you -- man,

 4   does a QRF, like how, how would they get there?

 5   Q.   I think the messages suggest they were going to get there

 6   by boat; right?

 7   A.   And then what?

 8   Q.   I believe Kelly Meggs said there were landing sites near

 9   the Lincoln Memorial; right?

10   A.   How would you get to the Capitol with those weapons from a

11   boat.

12   Q.   Because those were the rally points; right?

13   A.   What rally points can you take a boat to by the Capitol?

14   Q.   You discussed on direct, Mr. Greene, that there were rally

15   points that people discussed where they would be prepared to

16   meet up; correct?

17   A.   We had a rally point for security guys, maybe 50 minute

18   walking from anywhere where the water was.         The only place I

19   see water around D.C. is right around the Jefferson Memorial.

20   So if you were to take a boat to the Jefferson Memorial, how

21   would you get weapons from there to the Capitol.          If you have

22   a old fucker like Caldwell pushing around the cart.

23   Q.   Let me ask you this, Mr. Greene, the leaders of the

24   January 6 operation were on the DC OP Jan 6 chat; right?

25   A.   It's probably 200 people on the DC OP Jan 6 chat.




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 1   Q.     And the 200 people involved in that chat all knew where

 2   the rally points were because Kelly Meggs told them; right?

 3   A.     No, Kelly Meggs didn't even know where our rally point was

 4   the morning of the 6th, because Kelly Meggs was already on

 5   operation.     The people who were supposed to meet us were

 6   supposed to meet us at said rally point, not rally points,

 7   rally point.     It's purely a meet up spot, take them from the

 8   rally point to stage 7.      Nobody showed up.

 9   Q.     So just to go with this point for a second, you're telling

10   us that Kelly Meggs, one of the leaders of this operation, was

11   not told the rally point for -- that you had set?

12   A.     No, so when we decided on the rally point the morning of

13   the 6th, where I left Landon at, I don't remember talking to

14   Kelly Meggs again.     I wasn't in contact with Kelly Meggs,

15   Stewart was.     Now whether or not Stewart told Kelly I don't

16   know.     But our rally point was at the pond behind the

17   Capitol.

18   Q.     And you're saying that as the operations leader you chose

19   not to tell the leader of the Florida contingent where the

20   rally point was?

21   A.     It's not that I wasn't telling him what the rally point

22   was.     It didn't concern him at the time, because his guys were

23   on the operation with the eight politicians.         So what use is

24   it to Kelly to know where we're going to meet new guys coming

25   in.




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 1   Q.   Which eight politicians were the Floridians guarding, I'm

 2   curious?

 3   A.   I couldn't tell you.

 4   Q.   But you're the operations leader?

 5   A.   Exactly.

 6   Q.   And you're the operations leader for security; right?

 7   A.   Exactly.

 8   Q.   And you have no idea who Kelly Meggs is guarding, eight

 9   politicians, you have no idea their names?

10   A.   Stewart called and said they had eight politicians,

11   organized Roger Stone with different protection detail, that's

12   how Josh James got them.

13   Q.   And you have no idea?

14   A.   I don't know who it was supposed to be.

15   Q.   Okay.   I was talking about rally points earlier because I

16   was talking about the QRF rally points that Kelly Meggs

17   broadcast to the DC OP Jan 6 security chat?

18   A.   See again, my security operation didn't call for a QRF.

19   So if Kelly Meggs put together QRF rally points, Kelly Meggs

20   put together QRF rally points.

21   Q.   Let's come back to that in a moment, because I want to

22   first talk about December of 2020, you came back to D.C. with

23   Mr. Rhodes, the man advocating for revolution, in December of

24   2020; right?

25   A.   I came back to work one AP and then again for Kelly.




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 1   Q.   And that had nothing to do with the Oath Keepers in

 2   December of 2020?

 3   A.   No, so again, Kelly after one AP, Kelly and Stone was

 4   supposed to speak at a stage.       He paid me to be his guy to go

 5   and help one AP and then come back for Kelly.

 6   Q.   And at that stage Stewart Rhodes continued to advocate for

 7   a civil war; correct?

 8   A.   I didn't hear Stewart's speech at the stage, because I was

 9   doing advance work for the Flinn detail.

10   Q.   Okay.     And then in late December Mr. Rhodes asked you to

11   be a leader of the operation in D.C. for January 6; correct?

12   A.   No.     He asked me to help Siekerman, who was the leader.

13   Q.   So he asked you to be a deputy leader; fair to say?

14   A.   No.     He asked me to help organize executive protection

15   details for VIPs and speakers.

16   Q.   Can we bring up, please, Government's Exhibit 9725, which

17   is already in evidence, and go to page 1.

18                 This is a message Mr. Rhodes sent to the DC OP Jan 6

19   21 chat; do you see that?

20   A.   I see it.

21   Q.   And he sent this message on December 30th, of 2020;

22   right?

23   A.   I'm familiar with it.

24   Q.   And Mr. Rhodes said in that message that he was putting

25   Don Siekerman in overall command of the op; correct?




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 1   A.   Yes.

 2   Q.   And then he listed you, you're Whip; right?

 3   A.   Yes.

 4   Q.   And he listed Josh and Kelly as Mr. Siekerman's seconds;

 5   correct?

 6   A.   Yes.

 7   Q.   So you were second in overall command; fair to say?

 8   A.   So you do realize Stewart put this message out before he

 9   even asked me to help Siekerman.

10   Q.   Okay.   And Mr. Rhodes is saying that you Josh and Kelly

11   are his seconds; right?

12   A.   I mean, that's what he said.

13   Q.   Okay.   So you're denying that you were helping Don

14   Siekerman?

15   A.   No, I'm not denying it.     What I'm telling you is this

16   message is before Stewart even asked me to help Siekerman.

17   Q.   Okay.   Are you denying you were helping in a leadership

18   capacity, Mr. Siekerman?

19   A.   I'm not denying anything.      I'm just simply telling you, he

20   put this message out before he even asked me to help

21   Siekerman.

22   Q.   Okay.

23   A.   So when I did help Siekerman, it was purely to set up the

24   EP details and the VIPs.

25   Q.   Okay.   But you were a second leader to Mr. Siekerman;




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 1   right?

 2   A.   If that's what he said.

 3   Q.   Well, that's -- no, I'm asking you.

 4   A.   No, I'm telling you what he told me my capacity with

 5   Siekerman was.    Now you're reading something and you're

 6   telling me what this man told me.

 7   Q.   Okay.   Let's take that down, please.       Thank you.

 8         Mr. Greene, were you an assistant leader to Don Siekerman

 9   for the DC Operation prior to January 6th?

10   A.   I helped Siekerman with the set up of the executive

11   protection details and the VIPs.       Now, when Stewart asked me

12   to take over, that's when Siekerman decided he wasn't

13   coming.

14   Q.   And Mr. Siekerman got sick shortly before January 6th;

15   right?

16   A.   Yes.

17   Q.   And as of the morning of January 6, Mr. Rhodes put you in

18   command as the operations leader for January 6?

19   A.   It was actually before the morning of January 6.          But

20   again, he didn't put it out until the morning of January 6.

21   He asked me maybe -- oh, maybe the 2nd or the 3rd, I remember

22   we had a conversation and I left on the 4th.

23   Q.   Okay.   Great.    So he asked you the 2nd or the 3rd to be

24   the operations leader for January 6th; right?

25   A.   Yes.




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 1   Q.   Okay.    And in coming to D.C. for January 6 you brought a

 2   firearm; correct?

 3   A.   I brought a handgun.     An M&P shield, it shoots six

 4   rounds.

 5   Q.   And you brought part of a firearm for your friend Landon

 6   Bentley?

 7   A.   I brought a upper receiver.

 8   Q.   And a upper receiver is a part of a firearm; right?

 9   A.   Yes.

10   Q.   And you were added to Mr. Rhodes to this DC OP January 6

11   chat; right?

12   A.   Yes.

13   Q.   And you were added on the evening of December 30th at

14   about 8:36 p.m.; correct?

15   A.   I guess so, yeah.

16   Q.   Can we bring up on the screen Government's Exhibit 10050.

17   And just for the witness, do you see Mr. Greene that this is a

18   forensic examination report from a cellular telephone?

19   A.   Yes.

20   Q.   Okay.    Could we go to the next page of the exhibit, please

21   and the next page, please.      And the next page, sorry.       Could

22   we zoom in on what's record 1 here.

23         Mr. Greene, have you seen the data extracted from your

24   cell phone?

25   A.   Some of it.




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 1   Q.   Okay.   And if we look at record 1 here, do we see that on

 2   December 30th, 2020, at 8:36 p.m. this chat begins on your

 3   phone?

 4   A.   Yes.

 5   Q.   Okay.   Thank you, you can take that down.

 6         Mr. Greene, once you were named -- once you were asked by

 7   Mr. Rhodes to become involved with helping Mr. Siekerman, you

 8   began to actively follow the planning for January 6; right?

 9   A.   Not so much.    What I was doing, I was talking to

10   Siekerman.    And he was telling me some of the stuff that he

11   wanted to do.    He was telling me how he was talking to the

12   police officers and the information he was putting out on the

13   Signal chats.    And then I was telling him how he could set up

14   the VIPs and stuff like that.       You know, Siekerman thought

15   that he had a bunch of guys coming.        And so it sounded like it

16   would be a pretty easy operation.       But, you know --

17   Q.   And so are you saying that you did not actively follow

18   planning chats like DC OP January 6 21 once you began helping

19   Mr. Siekerman?

20   A.   Not entirely.    Like I would get on there and check it from

21   time to time, you know what I'm saying.        If Stewart wanted

22   know see some stuff on there, he would hit me up and tell me

23   to get on there and look at what was going on.          Mostly like me

24   and Siekerman communicated on phone.        And he was telling me

25   stuff he was putting out.




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 1   Q.   Mr. Greene you testified at a prior hearing related to

 2   this case; right?

 3   A.   Yes.

 4   Q.   Can we bring up on the screen please Government's Exhibit

 5   10052 just for the witness.      And can we go to page 11.       And I

 6   will direct counsel to lines 21 through 23.

 7         Mr. Greene at that prior hearing you were asked the

 8   following question and gave the following answer.

 9         Question:     So you were actively on for the stuff around

10   January 5th and 6?

11         Answer:     During the planning phase.

12         Yes?

13   A.   I'm looking at it say during the planning phase and then

14   I'm looking at it say not the day of, so yeah, I see it.

15   Q.   So you were actively involved in the Signal chats during

16   the planning phase; correct?

17   A.   I was actively involved in the planning.        But like I said,

18   I wasn't monitoring the Signal chats every day, minute after

19   minute, no.     So like I said when he would want me to get on

20   there I would get on there and look what was going on on

21   Signal.

22   Q.   So I guess I should have read beginning from line 16.             In

23   that prior hearing you were asked -- I'm sorry, you said:

24         Let's say planning for January and 5th and 6th stuff, you

25   know, then I would be actively on Signal looking at some of




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 1   the stuff that was going on during the planning phase and

 2   stuff like that, you gave that answer as well during the prior

 3   hearing?

 4   A.   Right.    I'm saying the same thing you're saying.        If he's

 5   telling me get on there, I'm going to actively go on there and

 6   look at it.     So you know, like I said, my notifications are

 7   turned off.     Me and Siekerman's talking.      He's telling me

 8   what's going on.     Stewart's saying, hey, man, get on there and

 9   look at this.     So I'm going to actively get on there and look

10   at it.     So I'm actively looking at it when I'm looking at it.

11   But I'm not monitoring it day-to-day.        I didn't even have the

12   notifications turned on.        So sometimes I would have to get on

13   there and look at it after being told what was going on.

14   Q.   Thank you.    We can take that down, Ms. Rouhi.

15         And there were at least five different chats, Signal

16   group chats that addressed the topic of January 5/6, 2021;

17   right?

18   A.   Yeah.    At least, yeah.

19   Q.   So based on these chats you were aware that there was

20   planning for a quick reaction force for January 6th?

21   A.   Again, I wasn't monitoring the chats like you're trying to

22   make it out to be.     But when I took over, we scraped the need

23   for a QRF.     Now there was a QRF plan prior to me taking over,

24   I'm sure, because he wanted QRF for just about every security

25   operation.




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 1   Q.   He being Stewart Rhodes; right?

 2   A.   Correct.

 3   Q.   Let's bring up what's already in evidence as Exhibit 9750,

 4   please.      And let's go to page 35.   We're showing now for the

 5   jury as well Mr. Greene, Government's Exhibit 9750, page 35.

 6   I'm sure you recall this message, Mr. Kelly Meggs OK Gator 1

 7   wrote to the DC OP January 6 21 chat, good call last night.

 8   Lots covered.      I'll get with NC team today and find out QRF

 9   location; right?

10   A.   Yes.

11   Q.   And that is a message that was -- that you were on this

12   chat at that time; right?

13   A.   Yeah, I was assigned to the chat, yes.

14   Q.   And you were aware that OK Gator 1 was Kelly Meggs;

15   right?

16   A.   Yes.

17   Q.   And you saw this message where he was saying he was going

18   to get with the NC team to discuss the QRF location; right?

19   A.   I seen it, but not when he sent it out.

20   Q.   Okay.

21   A.   But I have seen the message before.

22   Q.   You saw it during -- before January 6; right?

23   A.   Um, doubtful.     I can't say for sure.     I don't really

24   remember.      But I do know that they were planning to have a QRF

25   before I took over.




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 1   Q.   Okay.     And if we could go to pages 38 through 40 now.

 2   We'll start with page 38 of this same exhibit.          Kelly Meggs

 3   went on to send to that chat the QRF rally points water if the

 4   bridges get closed; right?

 5   A.   Uh-huh, I see it.

 6   Q.   Okay.     If we go to pages 39 and 40 he sent to that chat

 7   the maps that were the rally points by land and page 39, if we

 8   go to the next page, by sea; right?

 9   A.   Uh-huh.

10   Q.   Okay.     And you saw these messages as well; right?

11   A.   I saw them.     But, again, not when they were sent, but I

12   have seen these messages before.

13   Q.   You saw these messages before January 6; right?

14   A.   No.

15   Q.   Okay.     You're the operations leader; right?

16   A.   Not on the 2nd.

17   Q.   You are a leader, assistant to Don Siekerman; right?

18   A.   I was assistant Siekerman with the EP details, yes.

19   Q.   And these are planning for January 6; right?

20   A.   It's planning.

21   Q.   And it's for January 6; right?

22   A.   It's for January 6.

23   Q.   And it's by Kelly Meggs; right?

24   A.   It's by Kelly Meggs.

25   Q.   And you're not paying attention to these messages?




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 1   A.   Uh -- no.

 2   Q.   All right.       Let's go to page -- let's go to Exhibit 10050,

 3   please.      And if we could go to page 136 of the exhibit,

 4   please.      And could we look at, could we zoom in here on record

 5   279 at the bottom, please.

 6           Okay.     Mr. Greene, this is the export report from your

 7   phone, do you understand that?

 8   A.   Yes.

 9   Q.   And it's for a chat called DC OP January 6 21; do you see

10   that?

11   A.   Yes.

12                   MS. RAKOCZY:     Your Honor, at this point in time

13   we're going to move in just this record, 279, from page 136 of

14   Exhibit 10050.

15                   MR. SHIPLEY:     No objection.

16                   THE COURT:     Okay.   Be admitted.

17   Q.   (BY MS. RAKOCZY)          Mr. Greene, this is -- and can we

18   publish to the jury, please.

19           Mr. Greene this was the message we were just looking at

20   from Kelly Meggs where he said, good call last night.              Lots

21   covered.        I'll get with NC team today and find out QRF

22   location; do you see that?

23   A.   I see it.

24   Q.   Okay.       And there's a field within this program that

25   records a read receipt; do you see that?




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 1   A.   I see that too.

 2   Q.   And this read receipt says yes; do you see that?

 3   A.   I see that too.

 4   Q.   Thank you.     If we could take that zoom in down and can we

 5   go to page 162.      Just exhibits -- just records 338 to 339, so

 6   page 162, these two records, 238 and 239.           Let's do 238 first

 7   please.      338 sorry.     Thank you very much, Ms. Rouhi.    So we've

 8   just zoomed in now in Exhibit 10050 on page 162, to records

 9   338 and 339.

10         You see this is also for the DC OP January 6 chat?

11   A.   Yes.

12   Q.   And this appear to be the messages from Kelly Meggs, water

13   of the bridges get closed, and then a response from Paul

14   Stamey, working on procuring boat transport as we speak; do

15   you see that message?

16   A.   Yes.

17   Q.   And do you see that the read receipt for both of these

18   messages is yes?

19   A.   Yes.

20   Q.   Okay.     Thank you.     We can bring that down.    And can we go

21   please to page -- Exhibit 10050 again.         Could we go to page

22   202, please, of that exhibit.         Record 430.

23         This is a different message to that same DC OP January 6

24   chat, also from Kelly Meggs' phone number; right?

25   A.   Yes.




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 1   Q.   And Mr. Meggs said here on January 3rd, Ammo situation,

 2   are we bringing or are we set at QRF?        I mean, I'm always

 3   going to have a couple hundred, but if SHTF we've got ample

 4   availability; do you see that message?

 5   A.   Yes.

 6   Q.   Do you see that the read receipt for this one is yes?

 7   A.   Yes.

 8   Q.   Thank you.   We can take that down.      And if we can go to

 9   page 313 of the exhibit, please.

10               THE COURT:     Can you hang on, can you put that back

11   up, I don't know if the jury saw that.        I think all of these

12   are being admitted, correct, without objection?

13               MR. SHIPLEY:     I'm sorry?

14               THE COURT:     I'm saying all these exhibits that are

15   being shown are being admitted without objection, correct.

16               MR. SHIPLEY:     Well, Your Honor, I mean, Mr. Woodward

17   and I were just talking about that.

18               THE COURT:     I'm sorry?

19               MR. SHIPLEY:     Mr. Woodward and I were just talking

20   about that.    My understanding was only the first one was asked

21   to be admitted.    And now we've run through several other,

22   we're not stopping --

23               THE COURT:     Okay.   Well, do you have an objection to

24   any others being -- well, let me put it this way, if you have

25   an objection to it let me know before it gets published.




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 1               MS. RAKOCZY:     So at this point in time, Your Honor,

 2   we would formally move to admit page 162, records 338 and 339

 3   and page 202, record 430.

 4               THE COURT:     All right.   They'll be admitted.

 5               MR. SHIPLEY:     Your Honor, no objection.

 6               THE COURT:     Okay.   Admitted without objection.

 7   Q.   (BY MS. RAKOCZY)      And if we could just show the jury,

 8   please, this is January 3rd of 2021, a message from Mr. Meggs

 9   to the DC OP January 6 chat; correct, Mr. Greene?

10   A.   Yes.

11   Q.   And Mr. Meggs said, ammo situation, are we bringing or are

12   we set at QRF?    I mean, I'm always going to have a couple

13   hundred, but if SHTF we got ample availability; do you see

14   that message?

15   A.   Yes.

16   Q.   And does the read receipt for this message also say yes?

17   A.   Yes.

18   Q.   Could you take that down please.        And just for the

19   witness, could we please go to page 313 of the exhibit and

20   zoom in on record 628.       At this point in time we would seek to

21   move in from Exhibit 10050, page 313, record 628.

22               MR. SHIPLEY:     No objection.

23               THE COURT:     Admitted.

24   Q.   (BY MS. RAKOCZY)      Do you see that this is from -- and if

25   we could publish, please.




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 1         Mr. Greene do you see this is a message from Stewart

 2   Rhodes's phone number?

 3   A.   Yes.

 4   Q.   And to that same DC OP January 6 chat?

 5   A.   Yes.

 6   Q.   And Mr. Rhodes says on January 6th at 6:27 a.m., we will

 7   have several well equipped QRFs outside D.C. and there are

 8   many, many others from other groups who will be watching and

 9   waiting on the outside in case of worst case scenarios; do you

10   see that message?

11   A.   Yes.

12   Q.   And that message has a read receipt of yes as well?

13   A.   Yes.

14   Q.   And this message was sent by Mr. Rhodes on the morning of

15   January 6; correct?

16   A.   Yes.

17   Q.   That's after you became the QRF leader -- I'm sorry, the

18   operations leader for Mr. Rhodes's group; right?

19   A.   Yes.

20   Q.   After you allegedly canceled the QRF; right?

21   A.   I did cancel the QRF.     Stewart knew we didn't have a QRF.

22   Yet he put that out any way.       Now, it's important to note that

23   if I was to send a message from this group chat and I just

24   open up the Signal and go to the bottom and send a message,

25   it's going to mark them all as read even if I didn't look at




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 1   them.     So you can show as many read receipts as you want, it's

 2   all going to say read if I respond and go to the bottom

 3   without looking at the messages.

 4   Q.   I'm sorry, Mr. Greene, you're a cell phone expert as

 5   well?

 6   A.   I'm not a cell phone expert --

 7                MR. SHIPLEY:     Your Honor objection.

 8                THE WITNESS:     I'm not a cell phone expert but I can

 9   tell you how --

10                THE COURT:     Whoa, whoa, whoa.    Objection is

11   overruled.     Your client made a statement about how these

12   should be read.

13                MR. SHIPLEY:     I'm going to object that the question

14   is argumentative.

15                THE COURT:     Okay.   All right.   Well, it's overruled.

16   Go ahead.

17   Q.   (BY MS. RAKOCZY)       Mr. Greene, are you a cell phone

18   expert?

19   A.   I'm not a cell phone expert, but I can tell you how this

20   app works.

21   Q.   Do you know how the Axiom program that processes data from

22   cellular telephones works?

23   A.   I don't know how the Axiom program works, but I know in

24   Signal if I pop open a Signal chat, if it has 200 messages on

25   it and I scroll to the bottom, they're all going to be marked




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 1   as read if I respond or if I scroll to the bottom.          So I don't

 2   know about this program, but they're all going to be marked as

 3   read, because essentially they're going to be marked as read

 4   when you just scroll to the bottom.

 5   Q.   That's how your phone operates; right?

 6   A.   That's how Signal operates.

 7   Q.   You understand that data, metadata gets stored in phones

 8   perhaps in different ways?

 9              MR. SHIPLEY:     Your Honor, I'm going to object.

10   There's no foundation for any of this questioning.          This is

11   expert testimony.

12              THE COURT:     It's overruled.    Based upon your

13   client's answers to the question.       Go ahead.

14   Q.   (BY MS. RAKOCZY)     Mr. Greene, I know you're telling us how

15   cell phones work, but do you understand --

16   A.   No, no, no, I said how Signal works.

17   Q.   I understand you're telling us how Signal works when a

18   human is using it on their phones.        But do you understand that

19   metadata gets stored in cell phones in different ways?

20   A.   I suppose, yes.

21   Q.   And so do you know what the metadata here when it says

22   read reflects?

23   A.   That the message is read.      Now when you -- like I said,

24   when you open up Signal, if you've got unread messages, if you

25   scroll to the bottom, every message that's highlighted is




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 1   unread is it's going to mark like you read it.

 2   Q.   Okay, Mr. Greene.     Let's take this down, please.

 3         Mr. Greene, you saw there in that last message Mr. Rhodes

 4   on the morning of January 6 was talking about the fact that

 5   there was a QRF; right?

 6   A.   Correct, I seen it.

 7   Q.   And I think you just said that Mr. Rhodes said that even

 8   though he knew the QRF had been canceled by you; is that what

 9   you just said?

10   A.   Correct.    So when Mr. Rhodes sent that message, I didn't

11   even know he sent the message till later.         And once I learned,

12   you know, the FBI asked me about it.        And I told them the same

13   thing I'm telling you, like Stewart knew there was no QRF plan

14   for the security operation.      Yet he put that message out.          He

15   also said that he had armed individuals.

16   Q.   Mr. Greene you were staying at the same hotel as

17   Mr. Rhodes on the night of January 5th into the morning of

18   January 6th; right?

19   A.   Yes.

20   Q.   And you left the hotel with Mr. Rhodes that morning,

21   right?

22   A.   Yes.

23   Q.   And you were the operations leader for Mr. Rhodes' group

24   on January 6th; correct?

25   A.   Yes.




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 1   Q.     And that message was sent at about 6:00 a.m.        The 6:00

 2   a.m. hour on January 6th; right?

 3   A.     Yes.

 4   Q.     That's shortly before or during the time that you're

 5   traveling into D.C. with Mr. Rhodes; right?

 6                  MR. SHIPLEY:     Objection.   Lacks foundation.   Assumes

 7   facts not in evidence.

 8                  THE COURT:     It's cross-examination.   It's

 9   overruled.

10   Q.     (BY MS. RAKOCZY)       Mr. Greene, let me repeat the question.

11   The 6:00 a.m. hour on the morning of January 6 is around the

12   time that is either shortly before or during the time that

13   you're traveling into D.C. with Mr. Rhodes; right?

14   A.     I don't remember what time we left.        I think we got there

15   about 8:00.       Shit, it takes only 15 or 20 minutes from where

16   we were staying, so 6:30 would be early.

17   Q.     So shortly before you met up with Mr. Rhodes; fair to

18   say?

19   A.     Yeah, probably, probably before I met Mr. Rhodes.

20   Q.     And you're telling this jury that before leaving that

21   morning with Mr. Rhodes you didn't take a look at the DC OP

22   Jan 6 chat for the operation you were leading?

23   A.     No.    What I'm saying is I'm not paying attention to the DC

24   OP chat until I need to use it.          So if Stewart sent a message,

25   he sent a message.          Now, when I got unread messages, all I do




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 1   is open it up.    If I need to send a message, I open it up,

 2   punch to the bottom, send the message I need to send.

 3   Q.   This is the morning of January 6th --

 4   A.   The morning of January 6th.

 5   Q.   And you're the operations leader; right?

 6   A.   Yes.

 7   Q.   And this message was sent by your boss, the leader of

 8   everything; right?

 9   A.   Yes.

10   Q.   And you're not looking to see if he's sending any messages

11   that morning to the operational Signal chat?

12   A.   So if Stewart needed me to do something, like he wanted to

13   reach me directly, he would know to call or text me.           He's not

14   going to put a Signal message out for me to read.          So if it's

15   something that he needed me to know he would tell me,

16   especially since we're riding together.        So what Stewart

17   didn't tell me was he was putting out a message saying we

18   still had a armed QRF on standby, because he knows we didn't

19   plan for a QRF.    So if he put it out, he put it out.         But he

20   knows my security plan didn't plan for a QRF.

21   Q.   So when you got in the car with Mr. Rhodes he told you he

22   put out a false message; is that right?

23   A.   He didn't tell me about the message at all.

24   Q.   So I don't understand how you know that Mr. Rhodes is

25   putting out a message that is not true?




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 1   A.     Because I seen it, we didn't have a QRF.

 2   Q.     Okay.     Could we bring up exhibit --

 3   A.     The day Stewart put the message out was the morning of the

 4   6.     He didn't tell me, hey, I'm going the send this message

 5   out.

 6   Q.     I see, but you know Mr. Rhodes knew there wasn't going to

 7   be a QRF --

 8   A.     Yes.     Now --

 9   Q.     From talking to him?

10   A.     No, no, no, I'm telling you our security plan didn't

11   include a QRF.           Stewart might have had another plan.   But what

12   I'm saying is as far as my security plan, as far as our

13   security plan goes, we didn't plan for a QRF, we didn't have

14   enough people for QRF.           Hell, we only had two people at stage

15   7 after the EP guys.           So we didn't have the manpower for a

16   QRF.     So if Stewart put out that we had a QRF on standby, hey

17   that's what he put out.

18   Q.     Well, you didn't need the manpower at the stage for a QRF,

19   because the QRF was at the hotel across the river; right?

20   A.     I didn't know about a QRF, because we didn't plan for a

21   QRF.     So everything I'm learning about QRF is after the fact.

22   I didn't know Kelly Meggs had a QRF commander until after the

23   fact.     I didn't know Stewart sent a QRF message until maybe

24   the day after when I'm looking at messages.

25   Q.     I see.     You didn't know that Mr. Meggs was dropping his




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 1   guns at the QRF; is that right?

 2   A.   No.    So they had planned for a QRF.     When I took over the

 3   operation, I scraped the QRF.       I also told them not to wear

 4   any cammo.     Everybody Kelly was with showed up in cammo.        So

 5   apparently they wasn't listening to me.        Now, as far as my

 6   security operation goes, you can look at the pictures of the

 7   guys who were with people.      Josh James they didn't on any

 8   cammo, Jeff Morelock and his guy, he didn't have on cammo,

 9   Kelly Meggs, his guys, some of them had on cammo, some didn't.

10   So if they still had a QRF, they had a QRF.         As far as my

11   security plan, we didn't plan for a QRF.

12   Q.   I guess I'm confused Mr. Greene, because didn't Mr. Meggs

13   tell you when he was dropping his weapon at the QRF hotel?

14   A.   He didn't tell me he was dropping weapons at a QRF hotel.

15   He put it on a DC Op chat.

16   Q.   Can we bring up Exhibit 10061 just for the witness.

17         This is another forensic examination report from your

18   phone, Mr. Greene.     Do you see that here on the cover page of

19   Exhibit 10061?

20   A.   Yes.

21   Q.   Could we go to page 3 of the exhibit.        I'm sorry, could we

22   go to page 4.     Can we zoom in on record 1 here.

23                MS. RAKOCZY:   Your Honor, at this point in time we

24   would seek to admit Exhibit 10061 into evidence and seek to

25   publish.




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 1                THE COURT:     Mr. Shipley.

 2                MR. SHIPLEY:     And I'm not sure, do we have -- no

 3   objection.

 4                THE COURT:     Okay.   It will be admitted.

 5   Q.   (BY MS. RAKOCZY)       Thank you.     If we could publish to the

 6   jury.    We see here, Mr. Greene, this is a message from Kelly

 7   Meggs' phone number ending in 0600 to your phone number ending

 8   in 9968; do you see that?

 9   A.   Yes.

10   Q.   A message from January 5th at -- here it says 11:46 p.m.;

11   do you see that?

12   A.   Yes.

13   Q.   And this message from Mr. Meggs to you says, We are

14   heading in, just unloaded at QRF; right?

15   A.   I see it.

16   Q.   And the read receipt for this message also says yes;

17   right?

18   A.   Yes.

19   Q.   Thank you.    We can take that down.        Could we bring up

20   Exhibit 9725 please, page 4.         Also on the morning of January

21   5th -- Mr. Greene, on January 5th of 2021 Mr. Meggs sent the

22   message we see here to the DC OP January 6 21 chat?

23   A.   Yes.

24   Q.   And at 9:19 a.m. that morning he said, We are ready.

25   Should be in D.C. by noon; right?




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 1   A.   Yes.

 2   Q.   And when he sent that message "we are ready," he sent that

 3   link to that video we've now watched a couple times showing

 4   you and other Oath Keepers in Louisville; right?

 5   A.   Yes.

 6   Q.   Can we bring up Government's Exhibit 1.S.159.818.V.          And

 7   go to 15 seconds in.      This is the video that Mr. Meggs sent

 8   with the message, We are ready; right?

 9   A.   Yeah, I seen the video.

10   Q.   And at 15 seconds in we see images of people burning

11   things; right?

12   A.   Yes.

13   Q.   And at 32 seconds in we see images of people breaking

14   things; right?

15   A.   Yes.

16   Q.   And at 46 seconds in -- can we play through 55 seconds?

17                 (Video played.)

18   Q.   (BY MS. RAKOCZY)     At 46 seconds through about 55, 56

19   seconds we see images of the Florida Oath Keepers firing guns

20   at a gun range; right?

21   A.   Right.

22   Q.   And in the latter part of the video we then see some of

23   the images we've already looked at today of you and other Oath

24   Keepers in Louisville; correct?

25   A.   Yes.




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 1   Q.   So that's what Mr. Meggs is saying he and his group are

 2   ready for on his way to D.C.; right?

 3   A.   If that's how you take it.       Again, you know, this is Kelly

 4   Meggs.     This is Kelly Meggs' video.

 5   Q.   And he and Josh James were your deputy leaders for January

 6   6; right?

 7   A.   No.    Josh James had a team, Kelly Meggs had a team.

 8   There's no deputies.        They have teams.    They do this job.

 9   They have teams.     They do this job.

10   Q.   And you were in charge of them?

11   A.   I was in charge of operation.

12   Q.   And Mr. Rhodes was in charge of you; right?

13   A.   Mr. Rhodes was in charge of the Oath Keepers, yeah.

14   Q.   All right.    Thank you.     We can take that down Ms. Rouhi.

15         And Mr. Rhodes was also ready for January 6th as he moved

16   towards the D.C. area on January 4th and 5th; correct?

17   A.   How do you mean?

18   Q.   Let's bring up Government's Exhibit 6924 already in

19   evidence, please.

20                MS. RAKOCZY:     Court's indulgence.

21                We can come back to that one.       And this may not be

22   in evidence, so if we just show the witness.          Bringing up on

23   the screen Government's Exhibit 6924.          And at this point in

24   time the government would seek to move Exhibit 69 24 into

25   evidence.




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 1                MR. SHIPLEY:     Objection.

 2                THE COURT:     Phone please.

 3                (Bench conference on the record.)

 4                THE COURT:     So Ms. Rakoczy how -- this is a message

 5   from Mr. Rhodes to I presume Kellye SoRelle, December 29th of

 6   2020, 10:32 p.m.

 7                MS. RAKOCZY:     Yes, Your Honor.   And I plan on asking

 8   Mr. Greene whether he was aware that this was Mr. Rhodes's

 9   plan for the 6th, or these were his sentiments going into the

10   6th.

11                MR. WOODWARD:     I don't think that makes the exhibit

12   admissible independently.

13                MS. RAKOCZY:     I would note this is not Mr.

14   Woodward's witness.

15                MR. WOODWARD:     I'm happy to be severed from the

16   case, Judge.

17                MR. SHIPLEY:     I didn't hear the initial exchange, so

18   I couldn't say anything.

19                MS. RAKOCZY:     Your Honor, the government is seeking

20   to admit this to show Mr. Greene to ask him whether he was

21   aware that these were Mr. Rhodes's sentiments leading into

22   January 6.     He's testified a lot about what his understanding

23   was of the focus for January 6.        We think this impeaches

24   that.

25                THE COURT:     I guess the issue is -- look, if he is




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 1   not -- first of all, he's not on this message.          Second of all,

 2   putting it in front of him and showing it to the jury and he

 3   says, I knew nothing about this puts out Mr. Rhodes' message

 4   to the jury, can't sort of be -- the bell can't be unrung.

 5                MS. RAKOCZY:   Candidly, Your Honor, this is a

 6   co-conspirator statement.      It's from the period leading up to

 7   January 6.     It is from the leader of the conspiracy.        He's an

 8   alleged co-conspirator.      It is during the time period of the

 9   conspiracy.     It is to another alleged co-conspirator, Kellye

10   SoRelle.     It is in furtherance of the conspiracy.       It's

11   relevant to Ms. SoRelle's intent as well.         And she is the

12   person who Mr. Greene has claimed he has been protecting on

13   several of these operations.

14                MR. SHIPLEY:   Well, then the government could have

15   put it in its case in chief.       This is cross-examination.      If

16   she wants to put it in front of him without the jury seeing

17   and he says I don't know anything about it, then how does he

18   answer more questions about it.       This is not the government's

19   case.   They could have put it in, they didn't.

20                MS. RAKOCZY:   I think it's relevant now that

21   somebody has taken the stand -- the defendant has taken the

22   stand and is claiming that they had no other purpose other

23   than security details to be in D.C. that day.          If the Court's

24   going to preclude us, then I will ask him -- I will

25   essentially paraphrase it and ask him if he was aware that




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 1   that was Mr. Rhodes' sentiment.        If he denies it, we will seek

 2   to admit it in our rebuttal case.        It seams fair to confront

 3   him with it.

 4                MR. SHIPLEY:     Confront him with somebody else's

 5   statement.

 6                MS. RAKOCZY:     His boss's and co-conspirator's.

 7                MR. WOODWARD:     I hope I'm not responsible for all my

 8   boss's statements.

 9                MR. COOPER:     Well, I'm glad I'm self-employed.     But

10   just looking at this, I think it's inappropriate to confront

11   him with a statement from somebody else to another person, to

12   a third person.     There's no indication he's involved in

13   this.

14                MR. SHIPLEY:     And, in fact, he says he wasn't even

15   contacted about January 6th until after the day of the

16   statement.

17                MR. COOPER:     I think the problem, Your Honor, this

18   is just between two specific people and doesn't go out to any

19   of the chats, so it's sort of difficult to imply that this is

20   something that would be known by anybody else but these two

21   individuals.

22                MR. SHIPLEY:     The sole purpose here is to inflame

23   the jury.     That's it, the reference to rifles in hand.

24                MS. RAKOCZY:     Respectfully, Your Honor, this is the

25   leader of the alleged conspiracy talking to Mr. Greene, who is




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 1   alleged to be a co-conspirator we could have admitted this in

 2   our case in chief, we were trying to be judicious in how many

 3   of Mr. Rhodes's statements we introduced.         We think this is

 4   completely relevant fair game for cross when this man on the

 5   stand, Mr. Greene, has said that everything was about

 6   security, there was no QRF, a whole number of statements that

 7   this rebuts.

 8                MR. COOPER:     But this isn't to Mr. Greene, this is

 9   to Kellye.

10                THE COURT:     So look, I do think -- I think the

11   government's right in the sense that this is independently

12   admissible, at least in theory would have been independently

13   admissible in its case in chief.        This is cross-examination.

14   The question for the jury is whether Mr. Greene would have had

15   reason to know this was Mr. A Rhodes's intent leading up to

16   the 6th.     So the message between Mr. Rhodes and Ms. SoRelle,

17   there's been no testimony so far that Mr. Greene would have

18   been part of any conversation between the two of them

19   concerning the events of January 6th.        And I think it is

20   unfair to confront him with a statement that he wasn't a part

21   of.   Just simply ask whether he was aware that Mr. Rhodes had

22   this other motive or other intention.        And so I do think while

23   there's some probative value to it, arguably, I do think it's

24   unfairly and prejudicial to bring it in at this point.

25                MS. RAKOCZY:     Can I ask the Court, if I confront him




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 1   with this and denies it, I will ask follow-up questions about

 2   his role, his relationship, and sort of lay the foundation for

 3   the fact that it is incredible that he is not aware of the

 4   leader's sentiments.        And then we will seek to move this in in

 5   our rebuttal case.

 6                MR. WOODWARD:     That's not at all what his testimony

 7   has been so far.     His testimony has been that Stewart Rhodes

 8   was doing Stewart Rhodes.

 9                THE COURT:     Let's move forward.   You can ask him --

10   look, the bottom line is, I think this is consistent with how

11   I've been operating throughout, if he was on a chat and

12   something was expressed by the chat by another co-conspirator,

13   I have not objected -- I have not prevented him, frankly,

14   there has been no objection to you confronting him with that

15   statement.     He has denied having read some of them and the

16   jury will ultimately have to make a determination of whether

17   his explanation is credible or not.         This is a text message

18   between Mr. Rhodes and Ms. SoRelle.         If I remember correctly,

19   this is part of -- well, this is a text message between the

20   two of them.     And so given that he has -- he's not on it, I

21   think it's not proper to confront him with it.          Okay.

22                MS. RAKOCZY:     Yes, Your Honor.

23                (The following proceedings were had in open court.)

24                THE COURT:     Objection.   Sustained.

25                MS. RAKOCZY:     Will you take that down, please.




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 1   Q.   (BY MS. RAKOCZY)    Mr. Greene as Mr. Rhodes prepared the

 2   Oath Keepers for January 6, you were aware that he did not

 3   believe this was just another rally; right?

 4   A.   I was not.

 5   Q.   You were aware that he believed that Congress and others

 6   would not take note until people came with rifles in hand;

 7   right?

 8   A.   That was a theory he had.

 9   Q.   A theory you knew about?

10   A.   I mean he mentioned it in conversation, but again, that's

11   Stewart.   That's, you know, Stewart's typical rhetoric.

12   Q.   And you agreed to be his operations leader for January 6;

13   right?

14   A.   Yeah, he paid me for security.

15   Q.   You knew that Mr. Rhodes was saying in the lead up to

16   January 6th, in the time period of November 20th -- of

17   November 2020 through January 6th of 2021, you knew he was

18   saying that he was calling for civil war; right?

19   A.   No, he wasn't calling for civil war.        He thought that it

20   would be a civil war.     And he thought that it would happen in

21   our lifetime.

22   Q.   Closer than in our lifetime; right?

23   A.   I'm sorry?

24   Q.   Mr. Rhodes was saying that that civil war was going to

25   happen if President Trump didn't stop the election from




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 1   becoming finalized; right?

 2   A.    He thought that by Donald Trump not stopping the

 3   certification of the election or not doing the Insurrection

 4   Act thing, that people on the right would get outraged and,

 5   you know, turn to violence in the street against the people in

 6   the left.

 7   Q.    And you agreed that that was likely; right?

 8   A.    Nah, I can see how it would happen.      I'm not agreeing to

 9   it.    But I can see how it would happen.

10   Q.    Can we bring up Exhibit 9732, page 3.       You remember

11   earlier in this case seeing messages between yourself and

12   Landon Bentley who we heard from yesterday?

13   A.    Yes.

14   Q.    And in this message you and Mr. Greene talk about now

15   we're in late November talking about upcoming operations in

16   D.C.; right?

17   A.    Yes.

18   Q.    We go to the next page.    You said here Stewart Rhodes --

19   Stewart, that's Stewart Rhodes; right?

20   A.    Uh-huh.

21   Q.    I'm sorry, you have to say yes or no for the court

22   reporter.

23   A.    Yes.

24   Q.    Stewart Rhodes believes we're on the brink of a civil war;

25   right?




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 1   A.   Yes.

 2   Q.   That's what you said to Mr. Bentley on November 25th;

 3   right?

 4   A.   Yes.

 5   Q.   Not a war in our lifetime, but we're on the brink of a

 6   civil war?

 7   A.   We're on the brink of a war.

 8   Q.   If we go to the next page, please.       Mr. Bentley says,

 9   Thanks, brother, just let me know where you're going to do the

10   operations and I'll be there.       What do you think about it.

11   And if we go to the Next page, Mr. Bentley clarified, he

12   wanted to know what you thought about the civil war; right?

13   A.   Yes.

14   Q.   If we go to the next page, you said you could see how it

15   could happen; right?

16   A.   Yes.

17   Q.   And if we could go to the next page.        You went on to say,

18   A lot of people are upset about this election.          Now that there

19   is proof, people will be pissed by the results; right?

20   A.   Yes.

21   Q.   Thank you, you can take that down.       And that's essentially

22   what happened on January 6th; right?

23   A.   No.

24   Q.   On January 6th, that morning you woke up and you rode into

25   D.C. with Stewart Rhodes and Kellye SoRelle; right?




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 1   A.   Yes.

 2   Q.   And at some point that morning you heard from Josh James

 3   and the team that was guarding Roger Stone; right?

 4   A.   Probably -- yeah, I heard from them in the morning.          He

 5   was telling me about them going to the ellipse or something.

 6   Q.   Right.    The original plan that morning had been for

 7   Mr. James and his team to escort Roger Stone to the events at

 8   the Ellipse; right?

 9   A.   Yes.

10   Q.   And you understand that Roger Stone is a political

11   operative type; fair to say?

12   A.   Yeah.    I mean, one of Trump's lackeys.

13   Q.   And you learn at some point that morning that Roger Stone

14   told Mr. James and his team he did not want to go to the

15   Ellipse; right?

16   A.   I'm thinking that was probably closer to the afternoon

17   hour.

18   Q.   Okay.    And closer to the afternoon hour, Mr. Stone said he

19   was just going to stay in his hotel; right?

20   A.   No, so what happened was they went to the Elipse and Roger

21   Stone wasn't happy about the treatment he received.           So then

22   he wanted to go back to his hotel.

23   Q.   And Mr. James and his team took him back to his hotel?

24   A.   I suppose he did, yes.

25   Q.   That's what Mr. James told you; right?




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 1   A.   That's what he told me, yes.

 2   Q.   And Mr. James then reported to you that Mr. Stone was

 3   going to stay at his hotel; right?

 4   A.   Yes.

 5   Q.   Okay.    And at around 1:30 p.m. is that when you went to

 6   the Capitol on January 6th?

 7   A.   I believe so.

 8   Q.   And you were not with Kellye SoRelle; right?

 9   A.   Not at that time, no.

10   Q.   Okay.    Really not until after everyone came out of the

11   building and gathered on that east plaza were you with Ms.

12   SoRelle; right?

13   A.   Yes.    So the whole day I was -- the day of the 6th, me,

14   Landon and Bentley were together -- I mean me, Landon, and Joe

15   were together the whole day.       So I didn't see Stewart or Kelly

16   again until everybody was standing on those stairs.

17   Q.   Okay.    And that's towards the end of everyone's time on

18   the Capitol grounds that day, right, just to orient us?

19   A.   Yes.

20   Q.   You were also with William Todd Wilson for a portion of

21   the afternoon of the 6th; right?

22   A.   So with Todd, he came over, you know, he walked with us to

23   the yard and then he just was gone.        And we didn't see him

24   again until we were all standing on the stairs.

25   Q.   So when you got to the Capitol grounds, you saw what you




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 1   described as essentially a riot unfolding; right?

 2   A.   Yes.

 3   Q.   I think on direct you called it full scale; is that

 4   right?

 5   A.   Yes, riot.

 6   Q.   What did you mean by that?

 7   A.   I mean full scale is a bunch of people there.         You had

 8   people -- so you had a group of people and then you had a

 9   group of people in front of them.       And there were a line of

10   police officers around the building.        And they were -- the

11   people in front of the group were scuffling with the police

12   officers around the building.

13   Q.   And people had gotten past the first few sets of

14   barricades at this point; right?

15   A.   So when we got there, there were -- you know, the only

16   barricades was up around the Capitol.        It was a line of police

17   officers and then they had bike racks behind them.

18   Q.   Uh-huh.   But there had been bike racks in front of those

19   officers; right?

20   A.   I can't say one way or another, they were gone when we got

21   there.

22   Q.   Mr. Greene, you were in charge of security operations for

23   the 6th; right?

24   A.   The 6th, yes.

25   Q.   And there were two stages on the Capitol grounds, stages




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 1   meant to be set up on the Capitol grounds where you were

 2   allegedly going to have security details doing protection;

 3   right?

 4   A.   Yes.

 5   Q.   And so as somebody in that capacity, you are aware that

 6   the area of the Capitol grounds, where you ultimately went to

 7   were restricted, right, not permitted for the public?

 8   A.   So what I was told was we had a permit to operate on the

 9   Capitol grounds.    And, you know, going into it I didn't even

10   know where the stage was going to be set up.         So I knew at

11   some point in time I had to go to the Capitol to see where

12   they were going to set the stage up.        But nobody was supposed

13   to go to the Capitol until after the Ellipse was over.

14               MS. RAKOCZY:     Court's indulgence.    Could we bring up

15   what's already in evidence as I believe 1675, one six seven

16   five.

17   Q.   (BY MS. RAKOCZY)      Mr. Greene, the areas where your group

18   was supposed to be doing security work were areas 7, and areas

19   8 that I've just marked on the right side of Exhibit 1675;

20   right?

21   A.   So, again, I didn't know where the stages were going to be

22   at when they told us they had a permit to be at the Capitol.

23   So I was, at some point had to go to the Capitol to see where

24   the stages were going to be.

25   Q.   And I'm sure you did that on the 5th or the morning of the




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 1   6th; right?

 2   A.   No, I didn't, actually.

 3   Q.   You were in charge of security for these two stages and

 4   you're telling me you had no idea where they were?

 5   A.   No, we didn't.    Nobody knew where they were going to put

 6   the stages up at.     Because the Alexander guy hadn't told

 7   Stewart exactly where the stages were going to be.          So Stewart

 8   didn't tell me.     So all he said is, hey, man, there's going to

 9   be a stage at the Capitol after the Ellipse.         So I knew at

10   some point I had to go check and see where the stage was going

11   to be.     Because the day before you had a stage where 8 is and

12   then at the -- in front of the Supreme Court.          We didn't know

13   where the stage was going to be the next day for the

14   Capitol.

15   Q.   Forgive me, but we heard from Steven Brown, that's Ali

16   Alexander's guy; right?

17   A.   I know what you heard, but I'm telling you what we heard.

18   I know what Steve said, I heard all that.         But I'm telling you

19   what Ali Alexander communicated with Stewart -- or at least

20   what Stewart communicated with me as to the location of the

21   stage, you know I didn't have a clear picture.

22   Q.   Mr. Greene, you were on a Signal group chat with Steven

23   Brown; right?

24   A.   I don't remember if I was on a Signal group chat with

25   Steve Brown.     So many Signal chats I was on.      Again, I wasn't




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 1   monitoring every single chat.       Stewart's best chance of

 2   communicating with me was texting or calling.          That's why he

 3   would text or call me to get on Signal when there was

 4   something that he wanted me to see.

 5              MS. RAKOCZY:     Court's indulgence.

 6   Q.   (BY MS. RAKOCZY)     Okay.   Mr. Greene, isn't it true that

 7   there was a Signal group chat called something to the effect

 8   of January 5/6 Security VIP chat?

 9   A.   Yes, I know about it now.

10   Q.   That was a chat you were on; right?

11   A.   I -- sure.   Like I said, so many Signal chats.        Like I

12   can't say because I don't -- I mean, it's been a while.           But I

13   don't remember being on a chat with them.         I'm not disputing

14   that I am, but I'm saying I don't remember.

15   Q.   It would seem that that would be an important chat,

16   though, for somebody who was in charge of security details for

17   January 6; right?

18   A.   I mean, not when he's telling me everything I need to

19   know.

20   Q.   Well, that was the chat that Steven Brown was on; right?

21   A.   If you say so.

22   Q.   And that was the chat that Ali Alexander was on; right?

23   A.   If you say so.

24   Q.   And that was the chat that Roger Stone was on; right?

25   A.   If, again, you can tell me everybody who was in the chat




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 1   and I couldn't tell you everybody was in the chat.

 2   Q.   Well, there weren't that many people in there, right,

 3   there was just the protectees; right?

 4   A.   You're asking me questions I can't answer.

 5   Q.   And Mr. Rhodes created that chat to enable communication

 6   between his leaders in the Oath Keepers and the supposed

 7   protectees; right?

 8   A.   Listen, I don't remember the chat.       I don't remember who

 9   was in the chat.     Again, like the people from the 5th, Stewart

10   linked up with me and gave me their number.         So I was able to

11   talk to them directly.     Now, my first time ever seeing Steven

12   Brown was when he was here the last time I had to testify.             So

13   I can't say one way or the other who was on the conversation

14   and what conversation took place.       You know, one, I don't

15   remember.    And two, I can't dispute if I was or wasn't.

16   Q.   Okay.   And so for the sake of argument, let's assume that

17   you and Kelly Meggs and Josh James and Stewart Rhodes are on a

18   chat with all of the people you were supposed to be protecting

19   on January 6, okay, let's say that hypothetically.

20   A.   Okay.

21   Q.   You wouldn't reach out to that group chat to ask, Hey,

22   where's the stage for tomorrow?

23   A.   If I was on the chat, I would have.       But again, you know,

24   if I'm added to a chat and I'm not monitoring Signal to know

25   I'm added to a chat, how would I know I was on the chat.




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 1   Q.    I see.   So you would not monitor the chat called January

 2   5/6 Security VIP chat even though you were the operations

 3   leader allegedly in charge of protecting the VIPs?

 4   A.    So if he put me in a chat and didn't tell me, I wouldn't

 5   know I was on a chat.     So if I opened up my Signal and there's

 6   a chat there, it's in the fucking Signal chat, you know what I

 7   mean.    And that's how -- unfortunately, that's how Stewart did

 8   me.

 9   Q.    I really don't know what you mean, Mr. Greene, could you

10   explain a little bit further how you could not know that you

11   were on a chat called Jan 5/6 Security VIP chats, when you

12   were supposed to be in charge of that operation?

13   A.    Well, the same way Stewart added me to the DC OPs chat and

14   didn't tell me for days.

15   Q.    You were on that chat?

16   A.    That's what I'm saying.     He didn't tell me, hey, I'm going

17   to add you to this chat.       He asked me to work with Siekerman.

18   When I open up Signal I was on this chat.

19   Q.    And you don't pay attention?

20   A.    Well, I'm just saying I wasn't monitoring Signal.         Look,

21   when Stewart puts you in Signal chat and you're already in

22   Signal chats, and then you're in this Signal chat, and that

23   Signal chat, and this Signal chat, and that Signal chat,

24   everybody's constantly talking, your phone's going to keep

25   beeping and binging and binging and binging until I cut the




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 1   notifications off.        So that's why Stewart had to physically

 2   call me and tell me, hey, look at this chat.          So if he put me

 3   on this chat, I can't tell you one way or another because I

 4   don't remember being on a chat.

 5                Now, I mean, if I had the phone I could look at it

 6   and tell you I remember being on this chat, but I can't.           So

 7   if he put me on a chat and didn't tell me, I wouldn't have

 8   known.     Just the same way he had a chat with the lady from the

 9   Virginia Women's Fraternal.        He didn't tell me about it, what

10   he did was he called me, gave me her information.          I called

11   her and then she called her guy.        And that's how I linked up

12   with those people.        Because going into the 5th, I didn't even

13   know what time she wanted to meet.

14   Q.   This was another person you were supposed to be

15   protecting?

16   A.   This was on the 5th, this was the stage.

17                THE COURT:     Ms. Rakoczy, let me interrupt.     Let's

18   take our afternoon break.        It's a little after 3:00, we'll

19   resume a little after 3:15.        See you shortly.

20                (Jury left the courtroom.)

21                THE COURT:     Mr. Greene, you may step down.

22                Ms. Rakoczy, do you have a sense how much longer you

23   will be.     I'd like to see if we can finish Mr. Greene today,

24   including redirect.        So I'll urge you to be more expeditious.

25   Thank you.




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 1               MS. RAKOCZY:     Yes, sir.

 2               (A recess was taken.)

 3               (Jury entered the courtroom.)

 4               THE COURT:     Have a seat, everyone.     Welcome back.

 5               Ms. Rakoczy.

 6               MS. RAKOCZY:     Thank you, Your Honor.

 7   Q.   (BY MS. RAKOCZY)      1500.4, please.   And could we go to six

 8   minutes and 48 seconds.       Six minutes and 48 seconds, and if we

 9   could publish to the jury.

10         Mr. Greene -- actually, could we go back to -- sorry, Ms.

11   Rouhi, could we go back to 3 minutes and 22 seconds.

12         Mr. Greene, we're showing on the screen now a picture you

13   took from your phone in the middle there, do you see that

14   picture?

15   A.   Yes.

16   Q.   So this is what you were seeing at about 1:50 p.m. on the

17   6th; right?

18   A.   Yes.

19   Q.   That's a rioter here scaling a wall or climbing a railing

20   of stairs on the Capitol building; right?

21   A.   Yes.   He's on the stairs.

22   Q.   And the cops are pleading with him and other rioters to go

23   away; right?

24   A.   Looks like to me that it's a back and forth.         I don't

25   know, I guess you can say they're trying to figure -- I don't




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 1   know what they're doing.      I know they ended up scuffling with

 2   each other.

 3   Q.   And you don't remember hearing them beg him and other

 4   rioters to leave?

 5   A.   Are you asking did I hear these cops --

 6   Q.   Yeah.

 7   A.   On these stairs?

 8   Q.   Do you remember hearing cops in this area begging with

 9   rioters to leave?

10   A.   No.

11   Q.   Do you remember seeing the cops pepper stray this man?

12   A.   Yes.

13   Q.   Because he's trying to go somewhere he's not allowed;

14   right?

15   A.   He was trying to get through the cops.

16   Q.   And you're about ten, ten rows back from this scene, 20

17   rows back from this scene?

18   A.   No.     I'm further than that.   The picture's don't --

19   Q.   But We can see sort of the person that's in front of you;

20   right?

21   A.   Yeah.

22   Q.   And so you're not that far away; right?

23   A.   I'm not terribly far away, right.       But it's its a zoomed

24   in picture, like it's like zoomed in.

25   Q.   And you are in restricted areas of the Capitol grounds at




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 1   this time; right?

 2   A.   If you say.

 3   Q.   And that's something you would know as one of the security

 4   leaders for events near the Capitol -- on and near the Capitol

 5   grounds that day; right?

 6   A.   I'm sorry?

 7   Q.   That's something you would know as somebody in charge of

 8   security on and near the Capitol grounds on January 6th;

 9   right?

10   A.   I didn't know what areas was restricted, you know, we were

11   at the Capitol the day before, so.

12   Q.   Okay.   And as you see this scene unfold, let's go to six

13   minutes and 48 seconds, please.       You say at 2:15 p.m. this

14   is -- first of all, this picture in the middle of the screen

15   is a picture you took; right?

16   A.   Yes.

17   Q.   And you're seeing rioters scale the walls of the Capitol;

18   right?

19   A.   Yes.

20   Q.   And this photo was taken at about 2:16 p.m.; right?

21   A.   Yes.

22   Q.   And a minute earlier you told the DC OP Jan 6 chat, they

23   have taken ground at the Capitol; right?

24   A.   Yes.

25   Q.   Because that's what you're seeing here; correct?




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 1   A.   Yes.

 2   Q.   And you said, We need to regroup any members that are not

 3   on mission; correct?

 4   A.   Yes.

 5   Q.   You called people to the Capitol?

 6   A.   I didn't call anybody to the Capitol.

 7   Q.   And if we could go to Government's Exhibit -- still in

 8   this 1500.4 at 4:06 -- 4 minutes and 6 seconds, please.           At

 9   around the 1:54, 2:00 p.m. hour, in a separate chat, the one

10   we were just talking about, January 5/6 DC OP Intel team or a

11   related chat, DC OP Intel team, people on that chat are

12   asking -- they're sending pictures and videos of folks at the

13   Capitol and people are asking are they actually patriots; do

14   you remember these messages?

15   A.   Yes.

16   Q.   And you said, They're patriots; right?

17   A.   Yes.

18   Q.   That's how you described the people you saw scaling the

19   walls of the Capitol?

20   A.   That's how you described everybody who wasn't law

21   enforcement or part of another group.        So the Oath Keepers

22   call everybody patriots who are not law enforcement or Proud

23   Boys and stuff like that so essentially everybody in this

24   courtroom would be considered patriots to the way they used to

25   conversate.




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 1   Q.   I see, BLM are patriots?

 2   A.   No, BLM would be BLM.     Antifa would be Antifa, but

 3   everybody -- it's like how police officers use the term

 4   civilian.      Everybody's a civilian unless you're a gang member

 5   or an EMS or something like that.       So the way that they

 6   conversate with each other, everybody's patriots unless

 7   they're associated with some other type of group, military,

 8   law enforcement, Antifa, BLM.

 9   Q.   So everybody but Antifa, BLM, and law enforcement are

10   patriots in the Oath Keepers language?

11   A.   No.     What I'm telling you is everybody is a patriot.

12   Everybody.      Everybody in this courtroom is a patriot.       Now A

13   law enforcement officer would be a police officer, I meant

14   he's still a patriot, but he's a police officer, or an FBI

15   agent be FBI agent.      It's the same way police officers call

16   everybody civilians unless they're associated with something

17   else.      So like, yeah, if a police officer sees another police

18   officer he's going to identify him as a fellow LEO.

19   Q.   And so you called the people scaling the walls of the

20   Capitol patriots; right?

21   A.   Called the rioters patriots.

22   Q.   Okay.     And Mr. Rhodes called the rioters actual patriots,

23   pissed off patriots, like the sons of liberty were pissed off

24   patriots; right?

25   A.   Again, everybody who's not associated with anybody is a




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 1   patriots, so essentially everybody out there is a patriot.

 2   The whole crowd.     Rioters, people who wasn't rioting,

 3   bystanders, they're all patriots.

 4   Q.   Okay.    And Josh James said, We're coming to the Capitol

 5   ETA 30 minutes; right?

 6   A.   Yes.    I see that.

 7   Q.   So at 2:04 p.m. Mr. James said we're coming to the

 8   Capitol, 30 minutes; right?

 9   A.   Yes.

10   Q.   So you know he was inbound, going to be at the Capitol at

11   2:30 p.m.; right?

12   A.   I knew he was inbound to the Capitol because he told me he

13   was coming to the Capitol, not because --

14   Q.   He said that to you on the phone too; right?

15   A.   Yeah, he told me he was going to come to the Capitol.

16   Q.   In fact, you told him to come to the Capitol; right?

17   A.   No.

18   Q.   And you were calling him to the Capitol where a riot was

19   unfolding; correct?

20   A.   I didn't call him to the Capitol at all.        He called to

21   tell me --

22   Q.   Well, you said -- go ahead, sir.

23   A.   He called to tell me he was going to take Roger Stone to

24   his room.     And then when he called me again he said he was

25   coming to the Capitol.




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 1   Q.   And Mr. James's protectee was Roger Stone; right?

 2   A.   Correct.

 3   Q.   Mr. Stone is in his hotel room; right?

 4   A.   Correct.

 5   Q.   Down the street from the Capitol; right?

 6   A.   Yeah.

 7   Q.   And a riot is unfolding and instead of telling Mr. James,

 8   no, no, go to your protectee, you had him come to the Capitol;

 9   right?

10   A.   Well, Mr. James protectee was at his room, I can't tell

11   him not to.     Like I said, he can do what he want to do.

12   Q.   Mr. Greene, Mr. James ran every single movement that day

13   of Mr. Stone past you; right?

14   A.   Yes.

15   Q.   Mr. James is former military; correct?

16   A.   Yes.

17   Q.   A soldier like yourself; right?

18   A.   Yes.

19   Q.   Also someone who saw combat; correct?

20   A.   Yes.

21   Q.   You and he both understand the chain of command; right?

22   A.   Yes.

23   Q.   You were on top, higher than him in the chain of command

24   on January 6; right?

25   A.   Yes.




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 1   Q.   You're telling me he couldn't -- you couldn't tell him go

 2   to your protectee, don't come to the Capitol where a riot is

 3   unfolding?

 4   A.   I'm not going to tell him what to do.        He knows what his

 5   job is, so if he says I'm dropping Stone off and I'm coming to

 6   the Capitol, I'm not going to say, no man, no, I need you to

 7   do this, that, no.     You know your job is to protect Roger

 8   Stone.   Now if Roger Stone is not in play.        If Roger Stone's

 9   not on the move, if you feel like he's safe and secure, then

10   you know, you can do what you need to do, so long as you can

11   get back to your principal if he needs to move.          Now at that

12   point when Josh James told he was coming to the Capitol, okay.

13   Q.   In fact, Roger Stone wanted to get to the airport,

14   right?

15   A.   I don't know what Roger Stone wanted to do.         Last I heard

16   from James, Roger Stone wanted to go back to his hotel.           And I

17   don't think his flight was until later in the evening.           So he

18   said he was going to take Stone back to his hotel.

19   Q.   Mr. Stone wanted to get out of town because a riot was

20   unfolding; right?

21   A.   I don't know what Mr. Stone wanted to do.         Last I heard

22   from James he was dropping Mr. Stone off at his hotel because

23   Mr. Stone was not happy about the way he was treated.

24   Q.   Well, you and Mr. James really wouldn't know because you

25   guys were on your way to the Capitol where the riot was




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 1   unfolding; right?

 2   A.   I was at the Capitol.     I don't know what James was

 3   thinking.   But he was with Stone and he told me he was

 4   dropping tone off and the next time I heard from him he said

 5   he was on his way to the Capitol.

 6   Q.   And you told the Oath Keepers that we need to regroup

 7   everybody who's not on mission because they're taking ground

 8   at the Capitol; right?

 9   A.   Yes, the security team.

10   Q.   And that's because you wanted folks to come to the

11   Capitol; correct?

12   A.   No, I never said come to the Capitol.        I never said

13   regroup where?    Nobody responded to me.      So I just moved on

14   with my day.

15   Q.   Well, it's not that no one responded to you, you talked to

16   Stewart Rhodes, Josh James and Kelly Meggs that afternoon;

17   right?

18   A.   I talked to Stewart Rhodes and I talked to Josh James,

19   nobody responded in the chat.

20   Q.   Let's be clear --

21   A.   -- Josh James --

22   Q.   -- when Josh James --

23   A.   -- and I talked to Stewart Rhodes via phone, not on

24   Signal.

25   Q.   All right.   Well, let's look at the phone records in a




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 1   second.      But to be clear, when Josh James said, We're coming

 2   to the Capitol ETA 30 minutes in this chat and when you talked

 3   to him on the phone, in neither of those instances did you

 4   tell him, don't come?

 5   A.   He's a grown man.     I mean, what he want to do is what he

 6   want to do.      I can't control him.     This ain't the military.

 7   Q.   Let's go now to the same exhibit.        Let me get rid of

 8   these -- thank you, Mr. Douyon.         If we could go now to about 7

 9   minutes and 14 seconds, please.

10         Speaking of your communications with Mr. Rhodes that day,

11   you testified on direct that you were having some trouble with

12   sending and receiving messages on the afternoon of the 6th; do

13   you remember saying that?

14   A.   Yes.

15   Q.   You were able to have some communications, though, with

16   people through text and Signal?

17   A.   Some.

18   Q.   So, for example, we're looking here at 7 minutes and 14

19   seconds in Exhibit 1500.4.      We see that Mr. Rhodes asks you to

20   call him at 2:15 p.m. and you were able to tell him that it

21   went to voicemail; correct?

22   A.   Yes.

23   Q.   And we see that Mr. Rhodes is telling you where he is and

24   asking where you are; do you see that?

25   A.   I see that.




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 1   Q.   Okay.   And if we could go to 7 minutes and 44 seconds.

 2   That was at around 2:15 p.m.       Now ten minutes later, around

 3   2:24 p.m.    Mr. Rhodes is telling Mr. Meggs to go to the south

 4   side of the Capitol, because that's where I'm going to link up

 5   with Whip.      So you see that Mr. Rhodes believes that he has

 6   found out from you where you are and he's going to meet you;

 7   do you see that?

 8   A.   I see it.

 9   Q.   Okay.   Could we go please to 8 minutes and 49 seconds.           Do

10   you see here, around that same time, you tell Mr. Rhodes that

11   you're by the trailers and Mr. Rhodes says, On my way?

12   A.   Correct.

13   Q.   Okay.   So you were able to have some exchanges over text

14   and Signal with some people on the afternoon of the 6th;

15   correct?

16   A.   Some people.     Mostly Stewart and Josh.

17   Q.   Okay.   So let's please go in this same exhibit, 1500.4, to

18   11 minutes and 18 seconds.      All right.    So at about 2:32

19   p.m. -- well, 2:31 p.m. you call Mr. Rhodes; correct?

20   A.   Yes.

21   Q.   And Mr. Rhodes picks up; right?

22   A.   Yes.

23   Q.   And you talked to him; correct?

24   A.   Yes.

25   Q.   So you were able to communicate with him on this phone




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 1   call; right?

 2   A.     We were on the phone, yeah.    I don't remember if the call

 3   was great, but we were on the phone.

 4   Q.     And this call lasts over three minutes; right?

 5   A.     Yes.

 6   Q.     In fact, I think it lasts nearly five minutes; correct?

 7   A.     I'm not exactly sure about the time, but it was a call.

 8   Q.     And it's fair to say you would not have stayed on

 9   screaming I can't hear you for three to five minutes, right,

10   you must have been able to exchange some words with

11   Mr. Rhodes?

12   A.     Some words, but if it's patchy you're still having a

13   conversation, it's just a patchy conversation.

14   Q.     Sure but even a hard to hear conversation is a

15   conversation; right?

16   A.     It varies.   I mean, it depends how hard it is to hear and

17   stuff like that.      I mean dead space is still phone space.

18   Q.     Okay.   And you now see from this exhibit and you know from

19   the phone records that you've seen that at 2:32 p.m. and 18

20   second, or about 45 seconds into your call, Mr. Rhodes merges

21   in Kelly Meggs's phone; right?

22   A.     I see it.

23   Q.     Okay.   Now, your testimony here today is that you don't

24   know whether Mr. Meggs was silently joined into the call or

25   not?




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 1   A.   What I'm saying is if Stewart merged Kelly, I didn't know

 2   he was on the phone, because he never said he merged Kelly.

 3   He never told me Kelly was on the phone.         So if he just merged

 4   Kelly in our call, he never said anything and he never told me

 5   Kelly was on the phone.      So, you know, I'm going to say it

 6   didn't happen.    But if it was on the phone, then maybe, you

 7   know what I'm saying.

 8   Q.   Do you remember --

 9   A.   I'm sorry what?

10   Q.   I'm sorry I didn't mean to interrupt you.         Please

11   continue.

12   A.   What I'm saying, when me and Stewart was on the phone, he

13   never once said, hey, I'm going to click Kelly in, or hey's

14   Kelly's on the phone, or hold on Whip, let me put Kelly on the

15   line.   He never said any of those things.

16   Q.   That would be typical for someone to say when they get an

17   intervening three-way call; right?

18   A.   Well, that would be typical for Stewart to say and he

19   didn't do that.

20   Q.   Okay.   And yet the phone records seem to show that Mr.

21   Meggs's phone is joined in; right?

22   A.   If that's what you're saying, I can't argue that.

23   Q.   And the call stayed connected, Mr. Meggs' call stayed

24   merged in with your call for about 90 seconds; right?

25   A.   If that's what it says.




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 1   Q.   Uh-huh.     And you're saying that for a full 90 seconds Mr.

 2   Meggs is part of this phone and you have no idea?

 3   A.   Correct.

 4   Q.   And what are you and Mr. Rhodes talking about at this

 5   time?

 6   A.   I don't remember.

 7   Q.   You don't remember what you're talking about with

 8   Mr. Rhodes at 2:32 p.m. in a five-minute phone call?

 9   A.   Most the calls from me and Stewart and me and Josh were

10   trying to figure out where each other were.

11   Q.   Uh-huh.

12   A.   So, you know, maybe we're still trying to figure out where

13   each other were.      I even sent him a text message of what I was

14   standing next to.

15   Q.   You testified previously at a hearing related to this case

16   about this phone call, right?

17   A.   Yes.

18   Q.   And at that hearing you did not say you have no idea

19   whether Mr. Meggs was merged in or not, do you?

20   A.   I told you how a call can look like a three-way call then

21   I told you the same thing, if he was on the phone I didn't

22   hear him.      If he was on the phone Stewart didn't say it, and

23   Stewart never told me he connected him to the phone.           So yeah,

24   I said about the same thing.       My explanation of how it could

25   look like a three-way call.




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 1   Q.    Could we please bring up Government's Exhibit 10053, page

 2   15.    And if we could begin at line 8 here, you were asked the

 3   following questions and gave the following answer.          You said,

 4   So you -- and now Meggs calls Rhodes.        So you have been

 5   speaking to Stewart Rhodes for about 40 seconds or so, do you

 6   see that?    And you said, See, I can't say whether or not

 7   that's one of the phone calls that connected.          Do you remember

 8   asking that question and giving that answer?

 9   A.    I remember that.

10   Q.    And you were asked, sure.     And you said, I mean, maybe

11   it's 20 or 30 attempts to call Stewart, some went through,

12   some didn't.    Were you asked that question and gave that

13   answer.

14   A.    Yes.

15   Q.    And you were asked this question and gave this answer.

16   You were asked, I didn't ask you yet whether it connected.

17   And you said, well, I'm just saying I can't say for sure if

18   that is one, like if it rings and goes to voice mail it would

19   be about 40 seconds.     You were asked that question and gave

20   that answer; correct?

21   A.    Yes.

22   Q.    Going down to page -- the bottom there, line 25, you were

23   asked, At two minutes and 32 and 18 seconds, so seven seconds

24   after -- and if we could go to the next page -- Kelly Meggs

25   calls Stewart Rhodes, Stewart Rhodes merges is call with you




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 1   and you are now on a three-way call, do you see that?           And you

 2   said, I see that.     Is that the question you were asked and the

 3   answer you gave?

 4   A.   Yes.

 5   Q.   You were then asked, Right.      So you were talking to Rhodes

 6   and then Meggs called Rhodes, and then Meggs merged the calls.

 7   And you said, It could have been, I am talking to Rhodes,

 8   Meggs calls Rhodes and clicks over and there is still all

 9   three there.     I don't know about a merged call, because I

10   was -- I don't remember being on the phone with Kelly and

11   Stewart at the same time like ever during the 6th, or it could

12   have been Stewart called, went to voice mail, and then he

13   clicked over and called Kelly and it would have looked like

14   all the calls.     And that was the question you were asked and

15   the answer you gave; right?

16   A.   Right.

17   Q.   Okay.    Thank you.   You can take that down.

18         So you have given a number of different answers about

19   what you think happened during that phone call; right?

20   A.   No it's the same answer.      That's an explanation of how a

21   call can look like a three-way call.

22   Q.   Okay.    So for 90 seconds you were connected with

23   Mr. Rhodes and Mr. Meggs; correct?

24   A.   You're asking me the same question.       You want me to give

25   you the same answer?




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 1   Q.    Sure.

 2   A.    Okay.    I can't say whether or not me and Stewart and Kelly

 3   was on the phone, because I'm going to tell you it didn't

 4   happen, because I never heard Kelly say anything, Stewart

 5   never told me Kelly was on the phone.

 6   Q.    For 90 seconds?

 7   A.    So I can't say whether or not Kelly was on the phone.            I

 8   mean, if you're telling me he connected the call I can't

 9   dispute that.      But what I can say is Stewart never told me

10   Kelly was on the phone.      I never heard Kelly say anything.

11   And Stewart always tells me when somebody's on the phone with

12   me.    So in my mind, we're not on a three-way call.

13   Q.    And Stewart always tells you when he connects a third

14   party; right?

15   A.    If Stewart calls me with somebody on the phone, yes, he

16   tells me, hey, I got so-and-so on the phone or hey, I've got

17   such-and-such on the phone, or if he wants to click over and

18   call somebody, he say well, hey, let me get this person on the

19   phone.

20   Q.    And if we could go to 1500.4 please at 11 minutes and 16

21   seconds.      At about 233 and 48 seconds Mr. Meggs left the call;

22   correct?

23   A.    Yes.

24   Q.    And if we could play now through 47 seconds, 11 minutes

25   and 47 seconds.      You stayed on for another four minutes, three




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 1   and a half minutes; right?

 2   A.   Yeah.

 3   Q.   And after Mr. Meggs left that phone call, we see here in

 4   Exhibit 1500.4, that Kelly Meggs led a group we've referred to

 5   as line one up the steps of the Capitol; right?

 6   A.   If that's what you're saying.        I see the picture.

 7                MS. HALLER:     Your Honor, it's subject to the rule of

 8   completeness the first time this was played (INAUDIBLE) so

 9   that it was complete.

10                THE COURT:     Okay.   Go ahead, Ms. Rakoczy.

11   Q.   (BY MS. RAKOCZY)       So if we could bring up now Government's

12   Exhibit -- so that's at 2:30 p.m., 2:35 p.m.         If we could

13   bring up now Government's Exhibit 6740A and go to page 2.              And

14   if we could focus on the bottom of the page between about 3:00

15   p.m. and 3:16 p.m.        We see here between 3:00 p.m. and 3:16

16   p.m. on the 6th, you have a one minute and 12 second phone

17   call with Josh James.        And then a one minute and 41 second

18   call with Stewart Rhodes; right?

19   A.   Uh-huh.

20   Q.   And then you have at 3:04 p.m. a three and a half minute

21   phone call with Josh James; right?

22   A.   Yes.

23   Q.   And then a few other phone calls of 45 to 55 seconds or

24   thereabouts in the 3:09 to 3:16 p.m. phone period -- time

25   period; correct?




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 1   A.   Yes.

 2   Q.   Okay.   And at 3:06 p.m., which would be when you're on

 3   this 3:04 p.m. phone call.      If we could go to Exhibit 9902.

 4   Slide 46.    At 3:06 p.m. while you're on that call with

 5   Mr. James you send a message to someone in your phone that

 6   says, "We're storming the Capitol"; right?

 7   A.   You couldn't possibly send a message and talk on the phone

 8   at the same time.      I didn't have on a ear piece.      So I'm

 9   pretty sure that's one of the messages that didn't go out when

10   it was sent out.

11   Q.   That's what you're telling us?

12   A.   That's what I'm telling you, yeah.       If I'm on the phone at

13   3:06 with no ear piece, I can't text and send a message at the

14   same time.

15   Q.   You've never been on a call and taken it down, the

16   person's still talking to you, and you go on your phone and

17   you send a message, have you ever done that?

18   A.   Personally, no.     That's why I got a headset.

19   Q.   And you could have also had a headset while you were

20   sending this message and talking to Mr. James; right?

21   A.   Seen pictures of me with a headset?

22   Q.   Could you have had a headset?

23   A.   I didn't have a headset.

24   Q.   Okay.   And so you could have taken the phone down and sent

25   this message as I just demonstrated; right?




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 1   A.   That's not what happened.      I'm telling you -- if I'm on

 2   the phone at 3:06 I couldn't send a message at 3:06.

 3   Q.   Well, T-mobile says you sent this message that says,

 4   "We're storming the Capitol," at 3:06; right?

 5   A.   That's what you're saying, but I'm telling you I couldn't

 6   possibly be on the phone and send a message if I don't have a

 7   head piece.    So I can absolutely say for sure I didn't send

 8   that message while I was talking on the phone.

 9   Q.   And at 3:06 p.m., while you're talking to Mr. James and

10   saying, "We're storming the Capitol" -- if we could bring up,

11   go back to 1500.4 please, and go around 19:31, 19 minutes and

12   31 seconds.    Mr. James's group is on the steps of the Capitol;

13   right?

14   A.   Yes.

15   Q.   And you just happened to be saying at that moment, "We're

16   storming the Capitol"; right?

17   A.   At 3:10 or 3:06.

18   Q.   At 3:06 p.m. you send a message "We're storming the

19   Capitol"; right?

20   A.   Right.

21   Q.   And four minutes later Mr. James and his group are on the

22   steps of the Capitol; right?

23   A.   Right.

24   Q.   And "We're storming the Capitol" happens to not have been

25   on your phone at the time the FBI searched it; right?




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 1   A.   Can't say for sure.     I know for certain when I gave Palian

 2   the phone it was in my Google voice.

 3   Q.   You know for certain that that one message was on your

 4   phone at the time you gave it to Special Agent Palian.

 5   A.   It was a whole text thread in Google Voice.

 6   Q.   You can't remember being on the January 5/6 Security VIP

 7   chat when that was your mission on January 6, but you remember

 8   that one message was on your phone when you gave it to Special

 9   Agent Palian?

10   A.   I remember the text because I didn't delete anything I

11   thought could be evidence from the phone, because I knew there

12   was going to be an investigation.       So when he got the phone, I

13   gave him the phone as it was.       So it was a whole text thread.

14   Now, the thing that's taken out of context is the fact that

15   that person, it was absolutely out of context and it wasn't

16   even meant for that person.      It was supposed to be one of the

17   pictures saying "Storming the Capitol."

18   Q.   But you accidentally wrote "We're"?

19   A.   No, it was a prior thread going on that already had

20   "we're" in it that I just punched the "Storming the Capitol"

21   and sent the picture.      And instead of it going to the

22   individual I was texting, it went to this lady.          Now, you can

23   pull up the complete text thread and you can see the messages

24   before you can see that message, and then you can see the

25   messages after, it's completely out of context.




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 1   Q.   I can't pull up the thread because it's not in your phone;

 2   right, Mr. Greene?

 3   A.   I mean, didn't you have three FBI agents testify to the

 4   fact that they didn't know anything about Voice and they

 5   couldn't tell you if it was in the phone?

 6   Q.   Mr. Greene, you understand we got this message from

 7   T-Mobile, the cell phone company?

 8   A.   I understand where you got it from.       But do you understand

 9   how Google Voice works?

10   Q.   I think I understand.     Let me, since you seem to know

11   this, isn't it correct that T-Mobile does not get messages

12   sent through internet messaging apps like Google Voice, they

13   don't go through the phone messages they go through the

14   internet?

15   A.   Well, only if your signal doesn't work, which sent to a

16   text mail number from your phone, the number that the message

17   went to is not even the number that it went to, that's the

18   text mail that it went to, because you couldn't find a

19   network, so they send it to a regular number, didn't send it

20   to the phone.

21   Q.   Okay.   Let me go back and try to understand what you're

22   telling us about this message.       The "We're storming the

23   Capitol," the "we're" was meant for a different thread and

24   somehow you accidentally put it into the message "We're

25   storming the Capitol," that you sent this woman on your




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 1   phone?

 2   A.   So, if you look at the message, you would see the context

 3   of it.   So when I'm typing her "we're" I'm typing her on a

 4   different day.     Now, when she sent me a message, as I was

 5   typing another message, it comes up.        So when I switch on it

 6   text app, when I'm texting and the message comes up I'm still

 7   typing "Storming the Capitol" to my individual I was typing

 8   "storming the Capitol" to and the message sent out to her

 9   minus the picture.        Now, again, if you look at the complete

10   context of the conversation me and this woman had you would

11   understand.

12   Q.   Well, we can't do that because it's not on your phone;

13   right?

14   A.   (No verbal response.)

15   Q.   Okay.

16                THE COURT:     Let's move forward.

17                MS. RAKOCZY:     Yes, Your Honor.

18   Q.   (BY MS. RAKOCZY)       And speaking of things that are not on

19   your phone, if we could go back to on 1500.4, 406.           This whole

20   exchange where people ask if the rioters are patriots and you

21   say they're patriots and Josh James says he's coming to the

22   Capitol, that's not on your phone either; is it?

23   A.   It should be.    Should be in a DC OP Intel chat.        I didn't

24   delete any Signal chats.

25   Q.   Well, it seems that two very important sets of messages




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 1   are missing from your phone, Mr. Greene?

 2   A.   I'm telling you I didn't delete any Signal chats.

 3   Q.   Okay.   You can take that down please.       I'm sorry, Ms.

 4   Rouhi, can you bring back up 1500.4 again.         And go to 20

 5   minutes and 4 seconds, please.       Ten minutes after you sent

 6   that message "We're storming the Capitol," Josh James led line

 7   2 into the Capitol; right?

 8   A.   If that's what you're saying.

 9   Q.   Well, you see here at 3:14 p.m. on camera 7029?

10   A.   Okay.   I see it, yes.

11   Q.   You see this guy here, that's Rob Minuta; right?

12   A.   Yes.

13   Q.   And Josh James is -- he's in front of him right there;

14   right?

15   A.   Yes.

16   Q.   And they're entering the Capitol at 3:14 p.m.; right?

17   A.   Yes.

18   Q.   And if we could go now, advance in this exhibit to 20

19   minutes and 39 seconds, we see another photograph that you

20   took on your phone at about 3:15 p.m.; right?

21   A.   Yes.

22   Q.   And you had been on the northwest side, I'm marking it

23   here on the left side of the exhibit, for a good hour, hour 15

24   minutes prior to 3:15 p.m.; right?

25   A.   Yes.




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 1   Q.   And at 3:15 p.m., as Mr. James is leading line 2 into the

 2   Capitol, you happen to now be looking at those same doors;

 3   right?

 4   A.   Yes.   Now, I didn't know Josh James was up the steps past

 5   all those people and going into those doors, how could I

 6   possibly see that?       The last I talked to Josh James, he wanted

 7   to meet at these stairs.       So we came to those stairs.      He

 8   wasn't there.

 9   Q.   Let's look at Exhibit 9217, please.        These are the

10   imagines where you direct Mr. James where he should join you;

11   right?

12   A.   Yes, that's where we were standing with Stewart.

13   Q.   At this point in time we would seek to admit Exhibit 9217

14   into evidence?

15               MR. SHIPLEY:     No objection.

16               THE COURT:     9271 is admitted.

17               MS. RAKOCZY:     Can we publish please.

18               THE COURT:     I'm sorry 9217, I misspoke.

19               MS. RAKOCZY:     Thank you, Your Honor.

20   Q.   (BY MS. RAKOCZY)      These are messages between you and

21   Joshua James; right?

22   A.   Yes.

23   Q.   And these are not at 3:15 p.m., they were at 3:34 p.m.;

24   right?

25   A.   Yes, when we were standing on the northeast corner.




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 1   Q.   And you say come to the corner to the left towards the

 2   street; right?

 3   A.   Yes.

 4   Q.   And if we could page through the next few exhibits.           He

 5   says, are you to the middle or the left, on the end.           Go to

 6   the next one, please.       East of the middle.    Walk to the

 7   street.      Middle.   Northeast corner.   Go to the next one,

 8   please.      Is that it?   Thank you.

 9         These are the messages where you're giving Mr. James

10   directions to find you; right?

11   A.   Yes.

12   Q.   And this is between 3:30 and 3:45 p.m.; right?

13   A.   Yes.

14   Q.   After Mr. James has left the Capitol; right?

15   A.   I didn't know Mr. James was in the Capitol.

16   Q.   Well, he had just been in the Capitol; right?          We just saw

17   that on the video?

18   A.   Yeah.

19   Q.   And you happened to be looking at the steps he was

20   entering through at the precise moment he was entering?

21   A.   I didn't know Josh James was entering into the Capitol.

22   Again, we were supposed to meet at those stairs.           When me and

23   Landon and Joe got there Josh wasn't there.

24   Q.   Okay.     That's because he was in the Capitol; right?

25   A.   Suppose so, yeah.      I mean.




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 1   Q.   Okay.   And you also asked Landon Bentley if he wanted to

 2   go in the Capitol; right?

 3   A.   I did, yeah.    We were joking around all day.        So when I

 4   looked at him, when all the shit was going on, it was like,

 5   hey, Landon, you want to go in?

 6   Q.   That's how you joke with people when you seeing a riot,

 7   hey, would you like to go inside the Capitol?

 8   A.   Yes.

 9   Q.   And you're telling us that's what you said to Landon

10   Bentley, but you never said those similar -- same exact words

11   to Joshua James and Kelly Meggs before they went into the

12   Capitol?

13   A.   Absolutely.    I'm standing with Landon.      Me and Landon are

14   joking around all day.      I can't joke with those guys because

15   I'm not standing around them.       And with that shit going on, I

16   don't want to even say anything remotely close to that,

17   because I don't know where their head space is.          Landon, I'm

18   with him, I know where his head space is.         I mean, if you

19   could hear some of the other conversations me and Landon

20   said -- had around the Capitol, I mean, we just hung out all

21   day and watched these riots.

22   Q.   And Mr. Meggs and Mr. James were both beneath you in the

23   organizational structure for January 6; right?

24   A.   They had a team.     James had one protectant detail and

25   Kelly Meggs had another protection detail.




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 1   Q.    And you were the operations leader over both those teams;

 2   right?

 3   A.    I was operations leader over the security operation, they

 4   had a team, they had a principal.

 5   Q.    And Mr. James was a soldier like yourself; right?

 6   A.    Mr. James was a soldier, yes.

 7   Q.    And Mr. Meggs certainly liked to play soldier, didn't

 8   he?

 9   A.    I suppose he did.

10   Q.    And both of them, you're saying, went rogue that day and

11   didn't run it all to the chain of command before going in the

12   Capitol?

13   A.    That's exactly what I'm telling you.

14   Q.    Can we look at Government's Exhibit 9207, please.         This is

15   a photograph of you and Stewart Rhodes on the east plaza of

16   the Capitol on January 6; right?

17   A.    Yes.

18                MS. RAKOCZY:     We'd move to admit this into evidence.

19                MR. SHIPLEY:     No objection.

20                THE COURT:     Sorry, you said it was 9207.

21                MS. RAKOCZY:     Yes, please.

22   Q.    (BY MS. RAKOCZY)      And, Mr. Greene, you indicated to us

23   that the person on the right that I've just drawn a line on,

24   that's you; right?

25   A.    Yes.




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 1   Q.   And the person here on the left that I've just drawn

 2   another line, that's Mr. Rhodes; right?

 3   A.   Yes.

 4   Q.   And that's on the grounds of the Capitol; correct?

 5   A.   Yes.

 6   Q.   That's a restricted area that you weren't supposed to be

 7   in; right?

 8   A.   In you say so.       Like I said, we didn't know what areas

 9   were restricted.

10   Q.   Even though you were responsible for protecting stages on

11   those grounds that day?

12   A.   We didn't know what area was restricted at the Capitol.

13   Q.   Can we bring up 5312 just for the witness, please.           Can we

14   zoom in, Ms. Rouhi, on this area.

15         Do you recognize this to be another photograph of

16   yourself talking to Mr. Rhodes on the Capitol grounds on

17   January 6th?

18   A.   Yes.

19                MS. RAKOCZY:     Can we please move 5312 into

20   evidence?

21                MR. SHIPLEY:     No objection.

22                THE COURT:     Admitted.

23   Q.   (BY MS. RAKOCZY)       Can we publish to the jury, please.

24         Again, Mr. Greene, circled you talking to Mr. Rhodes on

25   the grounds of the 6th -- on the grounds of the Capitol on




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 1   January 6th; right?

 2   A.   Yes.

 3   Q.   Thank you.     You can take that down.

 4         After you and other members of the Oath Keepers -- well,

 5   let me ask you this, while you're out there on that plaza

 6   Kelly Meggs and his group come find you; right?

 7   A.   Kelly came with a couple people, yes.

 8   Q.   And Josh James came with his group and found you and

 9   Mr. Rhodes; right?

10   A.   Yes.

11   Q.   And you all stayed there for a period of time on THE

12   Capitol grounds after you all gathered together; right?

13   A.   Yeah, we stood out there.      They were just bullshitting

14   around.      People were talking about what was going on.

15   Q.   So all these people you had regrouped, you weren't telling

16   them to get off the Capitol grounds where a riot was

17   unfolding; right?

18   A.   Well, actually, yeah.     We were waiting for people to leave

19   and Stewart still wanted to wait in case other people came up

20   there.      So we were standing there waiting.

21   Q.   And when you left the Capitol grounds that day neither you

22   or Mr. James or anyone on your team went to find Roger Stone,

23   did you?

24   A.   I don't know what happened to Roger Stone.         At that point

25   operation is over.      You know, there's no concert.       There's --




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 1   I mean, there's no stage on the 7th anymore -- I mean, at the

 2   Capitol I'm saying.     There's no stage at the Capitol.        Stage 7

 3   is closed down.     You know, I don't know if you know Roger

 4   Stone stayed at his hotel, you know.

 5   Q.   You have no idea; right?

 6   A.   Nah, you know, as far as I was concerned everything was

 7   over with.     And so after Stewart said, hey, you know, we're

 8   just going to leave then, hey, okay.

 9   Q.   Kelly never went to find his Congress people or Ali

10   Alexander; right?

11   A.   I don't know where Kelly went when we left.         Ali

12   Alexander, Jeff -- I think Jeff said that Ali Alexander left

13   from the Ellipse.

14   Q.   And you went to the Olive Garden; right?

15   A.   Yes we went to Olive Garden.

16   Q.   With Mr. Rhodes; correct?

17   A.   Yes, Stewart was there.

18   Q.   And Josh James; right?

19   A.   Josh was there.

20   Q.   And a guy named Ed Vallejo; right?

21   A.   Come to find out later he was -- that was one of the guys

22   who were there.

23   Q.   Uh-huh.    And the mood was celebratory; right?

24   A.   No, everybody had their own conversations going on.

25   Q.   Like with themselves?




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 1   A.   I was talking to Landon.      Stewart was talking to quite a

 2   few people and making phone calls.        And Kelly was talking to

 3   somebody on the phone.      You had a couple One AP guys, they

 4   were there.

 5   Q.   People were talking about the need to save the republic;

 6   right?

 7   A.   I can't say for sure.     Everybody had different

 8   conversations.     Couple people was talking about something that

 9   happened in another state.       Something similar to what was

10   going on at the Capitol.      One guy was talking about the Ashli

11   Babbit chick who got shot.

12   Q.   People were talking about more violence coming; right?

13   A.   Somebody said they could see more violence coming.           But

14   like I said everybody was having their own conversations.               So

15   I kind of was just -- me and Landon were talking.

16   Q.   People were talking about going back the next day;

17   right?

18   A.   I don't hear -- I didn't hear anybody say they were going

19   to go back the next day at the Olive Garden.

20   Q.   At some point in that dinner word got around that the FBI

21   was starting to arrest people who had been at the Capitol;

22   correct?

23   A.   No.    They said police were arresting people who were not

24   from D.C.     They were going to their hotels and taking them to

25   jail.




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 1   Q.   People were arresting people just because they were not

 2   from D.C.

 3   A.   That's what was said.

 4   Q.   Okay.     And you and everyone else at that dinner left

 5   quickly; correct?

 6   A.   We didn't leave quick.      Me and Landon and Joe was -- stood

 7   in the parking lot doubting the information.

 8   Q.   And you went back to the hotel where you and Joe and

 9   Landon and Mr. James and Mr. Rhodes were all staying;

10   correct?

11   A.   Josh James didn't stay at the hotel with us.

12   Q.   You all packed up your stuff; right?

13   A.   I didn't have to pack my stuff up, it was already in the

14   trunk.

15   Q.   Okay.     Mr. Rhodes packed up his stuff; right?

16   A.   I'm supposing he did.     Like they parked in the parking

17   garage, I parked on the street.        So --

18   Q.   And at some point you all got together at a gas station;

19   fair to say?

20   A.   Yeah, I pulled up to the gas station and they were

21   there.

22   Q.   And you all, Mr. Rhodes split up some of his guns among

23   himself, Kellye SoRelle, and Mr. James; right?

24   A.   No.     So I only seen Stewart put a gun -- a rifle in the

25   car with him and Landon.




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 1   Q.   Okay.    So he took a gun that he had traveled there with

 2   Ms. SoRelle and he put it in the car with him and Mr. Bentley;

 3   Right?

 4   A.   Yes.    He took a weapon and he took a weapon with him from

 5   out of Kelly's vehicle.

 6   Q.   And he gave his phone to Kellye SoRelle; right?

 7   A.   Yeah, I came to learn later that he gave his phone to

 8   Kellye SoRelle.

 9   Q.   And you all left; right?

10   A.   Yes, everybody left.

11   Q.   And it was sometime in the middle of the night; right?

12   A.   No.

13   Q.   After midnight?

14   A.   No, it was not midnight at all.       It was probably 9:00 or

15   10:00.

16   Q.   Okay.    So it's about 10:00 p.m. and you all leave the D.C.

17   area; right?

18   A.   Yes.

19   Q.   And you all drive -- well, you drive home; right?

20   A.   I went home.

21   Q.   Straight?

22   A.   I didn't go straight home.      But I stopped a couple places,

23   then I went home.      I had been up all day.

24   Q.   So you drove from about 10:00 p.m. till, what, 1:00 a.m.,

25   2:00 a.m. before you pulled off to get a hotel room?




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 1   A.   About 2:00.

 2   Q.   Okay.   After January 6th, you were aware that Oath Keepers

 3   had gone inside the Capitol building; right?

 4   A.   Yes, I was made aware.      I think I got a couple calls and a

 5   couple texts.

 6   Q.   And you continued serving as somebody who helped out

 7   Stewart Rhodes; right?

 8   A.   Nah, Mmm, not so much as far as like helping, you know,

 9   I'd still do security, but in terms of like group stuff, I

10   kind of, you know,     -- I didn't want any parts of overall Oath

11   Keeper operation again after that.        But still willing to do EP

12   stuff.

13   Q.   And you went to Texas to help Mr. Rhodes in late January

14   of 2021; right?

15   A.   I went to Texas in late -- yeah, late January, early

16   February.

17   Q.   To help Mr. Rhodes?

18   A.   No Kellye.

19   Q.   To do security for Mr. Rhodes's girlfriend; fair to say?

20   A.   Yeah, Kellye.

21   Q.   Okay.   And in January, after the 6th, you received an

22   $8,000 payment from Stewart Rhodes; right?

23   A.   Yes.

24   Q.   Now you testified at a prior hearing related to this case;

25   correct?




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 1   A.     Yes.

 2   Q.     And at that prior hearing you said you gave that money

 3   back; correct?

 4   A.     I didn't give all the money back.      I took what was owed.

 5   And then instead of giving it back he wanted me to pay his

 6   lawyer's retainer fee in case other people got indicted and

 7   arrested.

 8   Q.     Could we please bring up Government's Exhibit 10052, page

 9   120.

10           Mr. Greene, in this prior hearing you testified under

11   oath; right?

12   A.     Yes.

13   Q.     And you were asked here on page 120 line 25, Did he pay

14   you 8 grand after January 6th?       And if we could go to the next

15   page, please.     You answered, He paid me for January 6th and to

16   come to Texas at the same time.        Now, I gave him back the

17   money because the need for me to stay in Texas wasn't there.

18   I only stayed for two weeks and Stewart got -- so Stewart got

19   his money back.     That's the question you were asked and the

20   answer you gave at the prior hearing where you testified under

21   oath; right?

22   A.     Yes.

23   Q.     And that wasn't true, was it?

24   A.     It -- I mean, yeah and no.    So it was Stewart's money and

25   it went to Stewart's attorney, instead of me giving it




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 1   directly back to him.         I just gave it to his attorney.

 2   Q.    You pocketed 3 grand from that money; right?

 3   A.    Yes, I kept.

 4   Q.    Okay so it's not true that you gave the money back, is

 5   it?

 6   A.    No, no, what I said was I gave back what he was owed,

 7   because I didn't stay the whole time.

 8   Q.    Okay.    Let's take that down, please.

 9                 MS. RAKOCZY:     Thank you.   I have no further

10   questions.

11                 THE COURT:     Thank you, Ms. Rakoczy.

12                 All right.     Mr. Shipley.   Redirect.

13                              REDIRECT EXAMINATION

14   BY MR. SHIPLEY:

15   Q.    Mr. Greene, do you remember being asked several questions

16   about whether you were Stewart Rhodes's right-hand man?

17   A.    Yes.

18   Q.    Okay.    And we talked on direct about your friend named

19   Greg?

20   A.    Yes.

21   Q.    Okay.    At some point while you were doing work for the

22   Oath Keepers, did you learn what Greg's role in the Oath

23   Keepers organization was?

24   A.    Yes, I did.    He was the vice president of national

25   operations.




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 1   Q.   National vice president?

 2   A.   Yes.

 3   Q.   Okay.    And Stewart Rhodes was the president?

 4   A.   Yes.

 5   Q.   Okay.    And based on your conversations with Mr. Greg, was

 6   it obvious that he was in regular contact with Stewart?

 7   A.   Yes.

 8   Q.   Okay.

 9                MR. SHIPLEY:     Your Honor, I want to use the chart

10   real quick, if I may.

11   Q.   (BY MR. SHIPLEY)       Now, you described Greg as a 6'6", 300

12   pound African American gentleman; right?

13   A.   Yes.

14   Q.   And he's the national vice president of the Oath

15   Keepers?

16   A.   Yes.

17   Q.   Is he on the leadership board anywhere?

18   A.   No.

19   Q.   Okay.    Who was Stewart Rhodes's right-hand man in the Oath

20   Keepers?

21   A.   Greg.

22   Q.   You were shown some video about your time in Louisville;

23   right?

24   A.   Yes.

25   Q.   And a lady said to you, you know, that your presence




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 1   wasn't welcome there, you were making problems worse; right?

 2   A.   Wasn't to me --

 3   Q.   Didn't say it to you.

 4   A.   Right.

 5   Q.   You heard it on the video?

 6   A.   Yes.

 7   Q.   Now, were there troublemakers that your group, the Oath

 8   Keepers, encountered in Louisville?

 9   A.   Yes.

10   Q.   Was there more than one group of troublemakers?

11   A.   Yes.

12   Q.   Describe one and then we'll talk about the other.

13   A.   Well, we had some BLM guys, you had a couple -- a few

14   Antifa guys, but it was mostly BLM in Louisville.           You know

15   they show up to where these guys are getting ready to push out

16   and go to the pawnshops and stuff like that.

17   Q.   Now, the video you were shown, the individual wearing the

18   Oath Keepers gear was possessing a -- what is generally called

19   an assault rifle; right?

20   A.   A rifle, it's you know --

21   Q.   Well, you would know.

22   A.   Yeah, we don't -- civilians don't get access to assault

23   rifles.

24   Q.   It was a long gun?

25   A.   It was a long gun.




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 1   Q.   And is it lawful to possess long guns in the state of

 2   Kentucky?

 3   A.   Yes.

 4   Q.   Is it lawful to carry long guns out in public in the state

 5   of Kentucky?

 6   A.   Yes, they have open carry.

 7   Q.   Okay.    And some of the BLM folks who came out, were they

 8   in possession of long guns?

 9   A.   Most of them.       They had -- so it's a weapon called a

10   Draco, it's a cut down AK-47.        No butt stock, 30-round

11   magazine, couple of them had drums.        Couple guys had spears

12   with knifes.        They all had play carriers.   One guy had a

13   Galil, which is a high end version of a AK.          And then, you

14   know, a couple ARs and stuff like that.

15   Q.   Okay.    So -- and that's one group of troublemakers, my

16   description, lack of a better description, not the Oath

17   Keepers.     Is there a second group of people that caused you

18   difficulty?

19   A.   Yeah, so Stewart had these guys come out, they were

20   Kentucky mountain rangers.        They were -- I thought they were

21   white supremecists, but the bigger issue was they were getting

22   drunk and they were getting high.        One of the guys was

23   snorting and the other guy was snorting heroin.

24   Q.   Did they have long guns?

25   A.   Yes.    Yes.




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 1   Q.    So the Oath Keepers weren't the only ones there with

 2   firearms; right?

 3   A.    Correct.

 4   Q.    And if the Oath Keepers had not come with firearms, they

 5   would have been the only ones there unarmed?

 6   A.    Correct.

 7   Q.    Can I have Government's 10056, please.       That's just the

 8   list of the Signal chats.      Can we just blow up roughly half of

 9   it.    Now you testified on direct, I believe, that you used

10   Signal before getting involved with the Oath Keepers; right?

11   A.    Yes.

12   Q.    And then Ms. Rakoczy asked you several questions about

13   this list of 45 Signal chats?

14   A.    I mean, yeah.   I don't remember 45 Signal chats, you know

15   like I said, I can't dispute it.        I used Signal.     But you

16   know, I didn't -- maybe I didn't realize I had 45 on there.

17   But I used Signal.

18   Q.    Do you recognize some on this list having nothing to do

19   with the Oath Keepers?

20   A.    I recognize a couple of them.

21   Q.    So Konas Gas and oil, did have anything to do with the

22   Oath Keepers?

23   A.    No, that was a job.

24   Q.    And dead group on Ohio LEO shooting, did that have

25   anything to do with the Oath Keepers?




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 1   A.     I can't remember.   I can't remember.

 2   Q.     FUBAR group, did that have anything to do with the Oath

 3   Keepers?

 4   A.     No.

 5   Q.     So would it be fair to say this list of 45 surprised

 6   you?

 7   A.     It surprised me, because like I said, I didn't realize it

 8   was that many Signal conversations in my phone.

 9   Q.     Did you ever try to keep track of how many Signal

10   conversations Stewart Rhodes put you in on the phone?

11   A.     It's impossible.

12   Q.     Did you keep track of every individual Signal conversation

13   Stewart Rhodes put you in the phone?

14   A.     No.

15   Q.     Now Ms. Rakoczy showed you a list of sort of technical

16   printouts and of messages sent by Kelly Meggs and others, and

17   there was a little reference there that said "read," do you

18   remember that?

19   A.     Yes.

20   Q.     And then there was a little tense back and forth exchange

21   between you and Ms. Rakoczy on what that meant; right?

22   A.     Yes.

23   Q.     Was there a date on that?

24   A.     No.

25   Q.     So it said read, but it doesn't say when you read it;




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 1   correct?

 2   A.   Correct.

 3   Q.   While you were taking pictures, starting about sometime

 4   after 1:30, gentleman up on the railing, you remember that

 5   picture; right?

 6   A.   Yes.

 7   Q.   You took more pictures than just that one; right?

 8   A.   Yes.

 9   Q.   And you were distributing those to friends who were

10   inquiring what was going on I think you said?

11   A.   Yes.

12   Q.   What's the closest you ever actually got to the Capitol

13   building where the police and the rioters were actually

14   engaged with each other?

15   A.   The stairs when I was standing with Stewart, that's about

16   the closest I got to the actual building.

17   Q.   Okay.   And -- well, when you were standing with Stewart,

18   that was on the other side of the building; right?

19   A.   Correct.

20   Q.   I'm talking about while you're still kind of taking

21   pictures and watching this unfold, what's the closest you got

22   at that point?

23   A.   I don't know.    I'd say, 80, 90 yards, maybe.        I didn't

24   want to get real close to the police line, because you know

25   they were fighting with them.       So I didn't want to get as




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 1   close as, you know, being able to touch a cop or something

 2   like that.      But I can't say for sure.     But, you know, it

 3   wasn't very, very close, because again, they were fighting

 4   with police officers.      And I didn't want to get scuffle.

 5   Q.   Okay.     Now, when you went to the opposite side of the

 6   building, when you met up with Stewart Rhodes, you said you

 7   met him -- the closest you got to the building was the bottom

 8   of the stairs; right?

 9   A.   Yeah.

10   Q.   Was there any fighting with police in that location?

11   A.   No.     No, not in that location, but down where they were

12   still going into the Capitol.       You know, they were still --

13   whatever they were doing to get in the door.          And then on the

14   other side they were fighting with police.         But right in that

15   area, nobody was doing anything.        They were just standing

16   there.

17   Q.   During the time that you were on the east side, where

18   we've seen videos of the Oath Keepers going up the steps, at

19   any time when you were on that side, did you see violence

20   between any protesters, rioters, whatever you want to call

21   them, on the east side and the police on the east side?

22   A.   No.

23   Q.   Could you see people going in and out the building through

24   the door?

25   A.   I couldn't see just --




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 1   Q.   I'm not asking did you see individual people, but did you

 2   see people going in and out?

 3   A.   Yeah, I saw people going in.

 4   Q.   Would you describe that as storming the Capitol, walking

 5   in and out a open door?

 6                MS. RAKOCZY:     Objection.

 7                THE COURT:     Hang on, hang on.   I'll sustain the

 8   objection.      Can you rephrase the question.

 9   Q.   (BY MR. SHIPLEY)       Okay.   You've described that -- you use

10   the words "Storming the Capitol"?

11   A.   Correct.

12   Q.   As you watch people go in and out the doors from the east

13   side, would you have described that to somebody else as

14   storming the Capitol?

15   A.   Just watching them walk in and out, no, that's not

16   storming the Capitol.        When they were actively fighting with

17   the police, trying to get into the Capitol, and they were

18   piling people upon people on to the cops, that's storming the

19   Capitol.

20   Q.   All right.

21                MR. SHIPLEY:     If I can have just a moment here.         If

22   I can have government -- it might take a minute, hopefully not

23   minute.    Can I have, I think it's 1504, the montage video.             I

24   want to get right to the point where Josh James begins to

25   engage with officer Mendoza.         Can we back up there right about




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 1   there.      That's good.   Okay.   Go ahead and pause it, please.

 2   Okay.      So this person right there.    Do you recognize them.

 3                 THE COURT:   Yes.

 4   Q.   (BY MR. SHIPLEY)      Who's that?

 5   A.   That's Josh James.

 6   Q.   What time does that say?

 7   A.   3:17.

 8   Q.   Can you take that down, please.       Can we go to the summary

 9   of calls.      Ms. Rakoczy I have it, but I don't have my computer

10   here.      The telephone calls.    The next page down.

11           See what I've circled down there, did you have a

12   telephone call with Josh Greene?

13   A.   Yes.

14   Q.   Did that call go through?

15   A.   No.

16   Q.   Because at that moment Josh Greene was -- or Josh James

17   was about to become involved in an altercation with a police

18   officer; right?

19   A.   Yes.

20   Q.   You weren't talking to him?

21   A.   No.

22   Q.   And the time it says you were on the phone with Joshua

23   James, at least the records, was 42 seconds?

24   A.   Yes.

25   Q.   But from the video it's obvious he wasn't on the phone




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 1   with you; right?

 2   A.   Yes.

 3   Q.   Did you delete a message off of your phone?

 4   A.   Did I delete a message off my phone?         No.   I deleted a

 5   thread months later out of Google voice.

 6   Q.   An entire thread of messages?

 7   A.   An entire thread.

 8   Q.   And was that thread of messages with regard to particular

 9   individual?

10   A.   Yes.

11   Q.   And was there a reason why you wanted to delete that

12   thread of messages from a particular individual?

13   A.   Yes, it was.

14   Q.   What was the reason?

15   A.   So that the -- so another female wouldn't see it.

16   Q.   So if somebody got a hold of your phone they wouldn't find

17   that by accident?

18   A.   Yeah, I mean, you know angry black woman, you know they

19   have better investigative skills than the FBI.

20                MR. SHIPLEY:     No further questions, Your Honor.

21                THE COURT:     Mr. Greene.    Thank you, sir.   You may

22   step down.     All right.     Could I ask everyone to get on the

23   phone.

24                (Bench conference on the record.)

25                THE COURT:     All right.    Mr. Shipley, any other




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 1   witnesses or evidence?

 2              MR. SHIPLEY:      Can I think about it over night?       No,

 3   Your Honor.    We're done.

 4              THE COURT:     All right.    Other than Agent Palian and

 5   the Berry prior consistent/inconsistent statement issue, is

 6   there anything left?

 7              MR. BRENNWALD:      Your Honor, Steve Brennwald here.          I

 8   just want to make sure that the Berry pages are read.           I want

 9   to make sure that the government's committing to that.            So as

10   long as that's done, I don't have anything else.

11              MR. ROSSI:     Your Honor, I apologize to the Court.           I

12   was going to redact some of those exhibits, including the

13   military records.     And I'll have my final answer tomorrow

14   morning to introduce them in our case in chief.

15              THE COURT:     I'm going to ask you to rest if you've

16   got nothing anymore.      I mean, I'm asking all defense counsel

17   if they've got no more evidence to rest.         If there's some

18   loose ends about redactions and the like we can take care of

19   that in due course.

20              MR. ROSSI:     Then, Your Honor, I move into evidence

21   W1 through W4.

22              THE COURT:     Okay.   Well, I had rule that 2, 3 and 4,

23   if I remember correctly, the only thing I said could

24   potentially come in was the CV, which I thought was the CV for

25   Dr. Sperry.




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 1                MR. ROSSI:     Your Honor, the military records, Your

 2   Honor's ruling they're not business records?

 3                THE COURT:     No.     What I said was is the government

 4   presented some military records, you had made a rule of

 5   completeness objection.           And I said I'm open to hearing what

 6   you think is required to complete it.           But that's where we

 7   left it.

 8                MR. ROSSI:     There's a couple pages that I'd like to

 9   introduce.

10                THE COURT:     Okay.     Well, I think we can handle that

11   after the fact.

12                MR. ROSSI:     Okay.     Thank you so much.

13                THE COURT:     Okay.     So I'm going to ask everybody to

14   rest and then Mr. Woodward you're going to put Agent Palian

15   on; is that right?

16                MR. WOODWARD:        I stand at the ready.

17                MS. RAKOCZY:     Your Honor, just for the Court's

18   information, I may leave at 4:45 for a child care issue.              I

19   don't mean any disrespect.

20                THE COURT:     That's okay.     None taken.

21                MR. NESTLER:     And to answer what Mr. Brennwald was

22   asking, my answer is I don't know what he's talking about.

23                THE COURT:     Well, I think the question is, have you

24   and Mr. Woodward resolved how this is all going to happen?

25                MR. NESTLER:     The government intends to on cross




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 1   read the two pages or so that Your Honor read into the record

 2   yesterday.     I will read the Qs and Agent Palian will read the

 3   As.

 4                THE COURT:     Okay.    All right.   Fine.   So that's how

 5   we'll proceed.     So Mr. Brennwald and Mr. Machado, and --

 6                MR. SHIPLEY:     Me.

 7                THE COURT:     Mr. Shipley.    We'll just ask everybody

 8   to rest in order.     And then we'll put Agent Palian on.         Okay.

 9                MR. BRENNWALD:     So Mrs. Parker is theoretically

10   first in the case.        So I don't know if you want Mr. Machado to

11   start first.     I'm just trying to keep it consistent.

12                THE COURT:     That's fine.    I'll go down the list,

13   just doing it in the order in which I see everybody.            Okay.

14                (The following proceedings were had in open court.)

15                THE COURT:     Let me go back now to some of the other

16   counsel now that Mr. Greene has completed his testimony,

17   starting with Mr. Machado.          Do you have additional witnesses

18   or evidence?

19                MR. MACHADO:     No, Your Honor, with the eight items

20   that have already been moved into evidence, which I confirmed

21   with the clerk, at this point Sandra Parker rests.            Thank you,

22   Your Honor.

23                THE COURT:     Mr. Brennwald on behalf of Mr. Parker.

24                MR. BRENNWALD:     Mr. Parker rests, Your Honor.

25                THE COURT:     On behalf of Ms. Steele, Mr. Cooper has




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 1   already rested.     On behalf of Mr. Isaacs?

 2                MR. ROSSI:     Your Honor we rest with the proviso

 3   about the military records.

 4                THE COURT:     And then Mr. Shipley on behalf of Mr.

 5   Greene?

 6                MR. SHIPLEY:     On behalf of Mr. Greene we'll rest,

 7   subject to cleaning up our exhibits with your deputy.

 8                THE COURT:     Mr. Woodward, do you have any additional

 9   witnesses?

10                MR. WOODWARD:     Yes, Your Honor.   On behalf of

11   Mrs. Meggs we call Special Agent Palian to the stand, please.

12                THE WITNESS:     Am I still under oath?

13                THE COURT:     You're still under oath.

14                     SPECIAL AGENT MICHAEL N. PALIAN,

15   called as a witness, being previously duly sworn, was examined

16   and testified as follows:

17                               DIRECT EXAMINATION

18   BY MR. WOODWARD:

19   Q.   Special Agent, please remind the ladies and gentlemen and

20   spell your first and last name for the court reporter.

21   A.   Sure.    My name is Special Agent Michael N. Palian,

22   P-a-l-i-a-n.

23   Q.   And Agent Palian, you're familiar with what a 302 is?

24   A.   Yes, I am.

25   Q.   And that is a record that you and your colleagues at the




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 1   FBI create after interviewing a witness; correct?

 2   A.   That's correct.

 3   Q.   And you generate a 302 pretty typically after each time

 4   you meet with a witness in an investigation; correct?

 5   A.   Correct.

 6   Q.   Now, you may meet with a witness multiple times in an

 7   investigation; correct?

 8   A.   We may.

 9   Q.   But nevertheless you would generate multiple 302s in that

10   circumstance; correct?

11   A.   Yes.   I would add to that, though, that the way we do that

12   is if we meet with a person multiple times and they've given

13   us the same information again, usually I'll put a header up

14   top that says "only new information is being provided in this

15   report."

16   Q.   Very good.    Only new information is added in a subsequent

17   302 that's generated?

18   A.   Correct.

19   Q.   I can't remember if it's you or a colleague, but it's

20   correct that after you generate that 302 it's serialized;

21   correct?

22   A.   Yes.   It's serialized to the case file.

23   Q.   And any exhibits or documents or other evidence that you

24   show a witness is serialized with that 302; correct?

25   A.   Yes.




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 1   Q.   All right.    Now, did you, in the course of your

 2   investigation, have an opportunity to meet with Caleb Berry?

 3   A.   Yes, I did.    Several times.

 4   Q.   And is it correct that you met with Mr. Berry on August

 5   5th, 2021?

 6   A.   Yes.

 7   Q.   And after that meeting did you memorialize the new

 8   information that you had learned from Mr. Berry?

 9   A.   Yes, I did.

10   Q.   In a 302?

11   A.   It was in a 302.

12   Q.   All right.    Do you recall showing Mr. Berry several videos

13   in that interview that you had with him?

14   A.   Yes.

15   Q.   And when you memorialized your interview with Mr. Berry

16   you noted that you had shown him those videos, did you not?

17   A.   Correct, I did.

18   Q.   And -- Court's indulgence.      You did that by indicating

19   that you had shown him a video and then you indicated what the

20   beginning of the file name was for the video; correct?

21   A.   Yes.    To distinguish between the several videos I had

22   shown him.

23   Q.   And also because the videos in this case often have

24   lengthy file names?

25   A.   Correct.




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 1   Q.   Okay.    And if I can show what has previously been admitted

 2   into evidence, this is CM-47.         We can publish to the jury as

 3   well.     Do you recall showing Mr. Berry this video, Agent

 4   Palian?

 5   A.   Pardon me.    Yes, I do.

 6   Q.   And you see that the group of Oath Keepers that is over

 7   here on the right of this video?

 8   A.   Yes, I see them.

 9   Q.   All right.    Move this along.      And you see the group has

10   moved now, just a few feet to the left here?

11   A.   Yes, I see them.

12   Q.   Now, if I can ask you after showing Mr. Berry this video,

13   isn't it correct that he told you that this is the gathering

14   where Kelly Meggs told him that the group was going to go into

15   the Capitol to stop the vote count?

16   A.   That's my recollection.

17   Q.   Thank you, sir.

18                MR. WOODWARD:     Nothing further, Your Honor.

19                THE COURT:     Okay.   Any cross-examination?

20                MR. NESTLER:     We ask for a limiting instruction,

21   Your Honor.

22                THE COURT:     I'll provide the instructions at the end

23   in terms of how the statement can be used.

24                MR. NESTLER:     Yes, Your Honor.

25                               CROSS-EXAMINATION




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 1   BY MR. NESTLER:

 2   Q.   Good afternoon, Agent Palian.

 3   A.   Mr. Nestler, good afternoon.

 4   Q.   So this meeting took place on August 5th of 2021 at the

 5   U.S. Attorney's Office; is that correct?

 6   A.   That is correct.

 7   Q.   And this was the first time that Mr. Berry was shown

 8   surveillance video from outside of the Capitol; is that

 9   right?

10   A.   I believe it was.

11   Q.   And so you showed him that video that Mr. Woodward just

12   showed you of the Oath Keepers in sort of the huddle formation

13   on the north side of the Capitol, towards the west; is that

14   right?

15   A.   Yes, that's approximately where it was.

16   Q.   And that was at approximately 2:24 p.m.

17   A.   Yes, that's the approximate time.

18   Q.   And then you also showed him a surveillance video from the

19   east side of the Capitol; correct?

20   A.   Yes, I did.

21   Q.   Also Oath Keepers in sort of a huddle formation; is that

22   right?

23   A.   Yes, I believe that happened at approximately 2:32 p.m.

24   Q.   Okay.   And so when you played for him that first video

25   from the north side, closer to the west, at around 2:24 p.m.,




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 1   he said it was around that time that Kelly Meggs said

 2   something about going to stop the vote count in the Capitol;

 3   is that right?

 4   A.   That's my recollection.

 5   Q.   Okay.   Now, you indicated that you typically only

 6   memorialize in your 302s when there's new information;

 7   right?

 8   A.   That's correct.

 9   Q.   And so you were present at a prior meeting about a month

10   earlier with Mr. Berry; is that right?

11   A.   Yes.

12   Q.   Did that take place around July 1st of 2021?

13   A.   Yes, it did.

14   Q.   And he at this time was in Tampa; right?

15   A.   Yes, I believe we were in remote -- reviewed the meeting

16   remotely.

17   Q.   How does that work for everybody who may need a little

18   refresher on how that works?

19   A.   It's like a Zoom meeting, except we can share documents at

20   times.

21   Q.   Okay.   And so in that meeting you also heard what

22   Mr. Berry was telling you; is that correct?

23   A.   Yes, that's right.

24   Q.   Okay.   And just to be clear, you didn't show him in that

25   that meeting any of the surveillance video from the north side




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 1   or the east side?

 2   A.   No, I did not.

 3   Q.   But in that meeting he did make a comment about Kelly

 4   Meggs's comment in the huddle; is that correct?

 5   A.   Yes, he did.

 6   Q.   Now, I'm going to approach with -- one second, Your Honor.

 7   All right.    We're going to call this Exhibit 10200.         And Agent

 8   Palian, are you aware of Caleb Berry testifying at a different

 9   proceeding related to this case?

10   A.   Yes, I am.

11   Q.   And I just handed you a transcript dated January 3rd of

12   2023?

13   A.   Yes.

14   Q.   Okay.   If we can go to page 2618, please.        And this is a

15   portion of Caleb Berry's testimony in that other proceeding;

16   do you see that?

17   A.   I see it.

18   Q.   I'm going to read the Qs like the questioner, you read the

19   As like you were the witness, Mr. Berry, okay?

20   A.   Yes, sir.

21   Q.   So the question starting on the top of page 2618 line 1:

22   When you got close to the Capitol building, did there come a

23   time when you were in a huddle with other members of your Oath

24   Keepers group?

25   A.   Yes, sir.




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 1   Q.   Who was with you in that huddle?

 2   A.   Most of the younger Florida Oath Keepers members.          Some of

 3   the people of more recent military, Kelly, leadership, Joe.

 4   Q.   Okay.    When you were in this huddle -- well, who formed

 5   the huddle?

 6   A.   Kelly.

 7   Q.   And while you were huddled, approximately how long were

 8   you huddled for?

 9   A.   Five, ten minutes.

10   Q.   Was there any talking?

11   A.   There was.

12   Q.   Who was doing most of the talking?

13   A.   Kelly.

14   Q.   What was Kelly saying?

15   A.   Kelly was saying that two of our guys had got separated.

16   Two of the Oath Keepers got separated from the group and had

17   walked up the stairs.      And he also said that we were going the

18   try to stop the vote count.

19   Q.   When Kelly said that, we are going to try to stop the vote

20   count, did you know who, quote, we, unquote, meant?

21   A.   The Oath Keepers.

22   Q.   What about you?

23   A.   Myself included.

24   Q.   And let's take a pause for a second.        Did you know what

25   was happening inside of the Capitol building on January 6th in




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 1   the afternoon?

 2   A.   I did.

 3   Q.   How did you know?

 4   A.   Because it was all over the news.

 5   Q.   And had it been part of the conversations with you and

 6   other members of the Oath Keepers about what was happening

 7   that day?

 8   A.   Yes, sir.

 9   Q.   And what was your understanding about what Congress was

10   doing on the afternoon of January 6th?

11   A.   Certifying the election for Joe Biden.

12   Q.   What would that mean for President Trump?

13   A.   He had lost.

14   Q.   And so when Kelly said something about trying to stop the

15   vote count, what did you think?

16   A.   I was scared.    But we could do it as a group.

17   Q.   After Kelly said this, did the huddle sort of break up?

18   A.   We did.

19   Q.   And when Kelly made this comment about trying to stop the

20   vote count, did anyone voice any disagreement?

21   A.   No.

22   Q.   Did anyone say, I'm not doing that?

23   A.   No.

24   Q.   And after the huddle broke up, did you all walk in a

25   certain direction?




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 1   A.   We did.

 2   Q.   Towards what?

 3   A.   The entrance up to the stair -- I'm sorry, the stairs up

 4   to the entrance.

 5   Q.   Did you turn and walk the other direction?

 6   A.   No.

 7   Q.   Who was leading your group?

 8   A.   Kelly.

 9   Q.   And when he started walking towards the stairs, what did

10   you do?

11   A.   I followed.

12   Q.   And for the record that ends on page 2620 at line 13.

13                 MR. NESTLER:     Thank you Agent, Palian.     I have no

14   further questions, Your Honor.

15                 THE COURT:     Thank you, Mr. Nestler.

16                 MR. WOODWARD:     Just briefly, Your Honor.

17                              REDIRECT EXAMINATION

18   BY MR. WOODWARD:

19   Q.   Agent Palian, Mr. Nestler asked you about whether you

20   showed Mr. Berry other video in that August I believe it was

21   5th interview; correct?

22   A.   I believe Mr. Nestler asked me if we showed other video in

23   the July 1st meeting.         I don't know if he asked that question

24   about August 5th.

25   Q.   I think he asked you if on August 5th in addition to the




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 1   video of the northwest side of the Capitol did you show

 2   Mr. Berry video of the east side of the Capitol?

 3   A.   Pardon me, yes, he did ask me that question.

 4   Q.   And you did show Mr. Berry video of the east side of the

 5   Capitol, didn't you?

 6   A.   We did.

 7   Q.   And one such video file that you showed him began with the

 8   phrase "East front plaza"; correct?

 9   A.   I believe so.

10   Q.   Okay.     And although this has been admitted into evidence,

11   there's no way that I will remember the Government's Exhibit

12   number, so I'll just seek to move this in as CM 83.           Thank you

13   Mr. Douyon, CM 84.

14                MR. NESTLER:     Objection to the admission.

15                THE COURT:     Take a look at it first, please.

16                MR. WOODWARD:     If the government would prefer, we

17   can play their exhibit.        I just don't know the number.

18                MR. NESTLER:     Our point is it's not proper in

19   redirect for this witness.

20                THE COURT:     I knew that was the point.     On the phone

21   for a moment.

22                (Bench conference on the record.)

23                THE COURT:     Mr. Woodward, what are you seeking to

24   elicit?

25                MR. WOODWARD:     Well, Mr. Nestler asked him if they




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 1   showed him other video at the same time.         They showed him this

 2   video.    This is the other huddle.       And Mr. Palian did not

 3   record in the 302 that it is in this huddle where the

 4   statement was made.

 5               THE COURT:    I'm sorry.     He did not record in the 302

 6   that this is where the statement is made?

 7               MR. WOODWARD:    Right.    That he obviously recorded

 8   that the statement was made at the other huddle.           They show

 9   him this huddle, they ask him about it, and they record

10   comments which I won't get into, but I'll just ask him, he

11   didn't tell you this was the huddle where Mr. Berry's

12   statement was made.

13               THE COURT:    So the 302 reflects Mr. Berry's answers

14   to questions about this video, this is the Sandra Parker video

15   on the east side; correct?

16               MR. WOODWARD:    Yes, sir.

17               THE COURT:    Okay.   And the 302 reflects his answers

18   to questions he was asked, was he asked -- well, and then your

19   point is that the 302 just doesn't say anything about him

20   having identified this as the huddle.

21               MR. WOODWARD:    Exactly right.     He's asked to

22   identify various people and to confirm certain things that are

23   said.    I don't need to play it, really I've already shown more

24   than I need to.

25               THE COURT:    Okay.   Given that the government opened




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 1   the door to it, I think it's appropriate to ask what if

 2   anything Mr. Berry said about this.        I mean, the suggestion

 3   was -- one of the potential suggestions of the question was

 4   that Mr. Berry answered the question in response to viewing

 5   another video.     I think it's appropriate to complete the -- or

 6   to convey to the jury that he did not.

 7               MR. NESTLER:     I'm not sure this is the video that

 8   was -- second video that was shown.        I believe it was

 9   surveillance video that was shown, not Sandra Parker's

10   video.

11               THE COURT:     Well, that was the question I had, I

12   should have asked that first.        Because the way you described

13   the video, it's at least as a title it would not seem to line

14   up with Ms. Parker's video.

15               MR. WOODWARD:     I'm showing the Court and government

16   counsel their spreadsheet of records that were shown.           You can

17   see the serial has numbers here.        This is the file names as

18   they provided to us.       This is the file name of the original

19   file.    And then I'm switching back to the 302 in which Berry

20   was shown the enclosed video with the file name starting with

21   "East front plaza," and here's what was recorded in the 302.

22               THE COURT:     Okay.   And that's -- go ahead.

23               MR. NESTLER:     Yes, I'm sorry.    To clarify, I'm not

24   saying he wasn't shown this video.        If you look at the top of

25   the page you can see that the very first substance Berry




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 1   stated this was another place where they stopped to huddle.

 2   So my point was that Agent Palian showed a surveillance video

 3   of the huddle on the east side and then showed Sandra Parker's

 4   video.

 5               THE COURT:     Okay.   So I just, look the 302 reflects

 6   two different videos.       Mr. Nestler just read -- can you put

 7   the 302 back up -- is a different video.         In other words, what

 8   Mr. Nestler said Berry advised this was another place where

 9   they stopped to huddle.       And maybe there are two videos of

10   that same advantage point?

11               MR. WOODWARD:     I'll pull up the second video.       This

12   is the video that references a second huddle.          I believe it's

13   the overhead view of, somewhere in there --

14               THE COURT:     But he was shown both is your point?

15               MR. WOODWARD:     Correct.

16               MR. NESTLER:     That's just my point.     He was shown

17   both.    But I believe on cross I asked Agent Palian he was

18   shown surveillance video from the west side and then

19   surveillance video from the east side, that was my point, Your

20   Honor.

21               MR. WOODWARD:     I would have left it at he was shown

22   the one video and sat down, but they opened the door.

23               THE COURT:     I don't disagree.    So just ask him, I

24   mean, I guess you could show him the first video and say was

25   this video shown to Mr. Berry and what if anything did he say




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 1   about the statement in connection with the video and leave it

 2   at that.       Okay.

 3                  MR. WOODWARD:     Show him not this video but the other

 4   one.

 5                  THE COURT:   The other one, I think he was shown

 6   both.

 7                  MR. WOODWARD:     I can, but I don't have a desire

 8   to.

 9                  THE COURT:   What's that?

10                  MR. WOODWARD:     I can if the Court wants me to, but I

11   don't have a desire to show him --

12                  THE COURT:   I'm not asking you to.     All I'm saying

13   is he was shown both, you might as well just show him the one

14   that's more relevant.

15                  (The following proceedings were had in open court.)

16   Q.     (BY MR. WOODWARD)       Okay.   Mr Palian, so you showed

17   Mr. Berry multiple videos in that interview that we discussed

18   before; correct?

19   A.     Yes, sir.

20   Q.     And Mr. Nestler asked you about CCTV footage from the east

21   side of the Capitol, this is 82 -- 84.           If we could admit and

22   publish to the jury.

23           Do you recall showing this video to Mr. Berry, Agent

24   Palian?

25   A.     I do.




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 1   Q.   And what if anything did Mr. Berry say about -- what if

 2   anything did Mr. Berry tell you Mr. Meggs said as depicted in

 3   this video?

 4   A.   You know, I don't really recall.        I'd like to see my

 5   report.

 6   Q.   I'd be happy to show, just for the witness please.           And

 7   for the record, I was showing Agent Palian the video that is

 8   referenced in his report as 0902.

 9   A.   I remember this now.

10   Q.   Okay.     So back to the jury please.     Did Mr. Berry tell you

11   about anything about this video?

12   A.   He did.     He said that this was another place that they

13   stopped to huddle.      He said that they were going to go up the

14   stairs and get the two Oath Keepers that were on the stairs.

15   And he also said that Kelly was on the phone at the time.

16   Q.   All right.     Now, he didn't tell you that it was at this

17   huddle that Kelly Meggs said we're going to stop the vote

18   count?

19   A.   I don't believe he did.

20   Q.   All right.     And the other video -- this is 83, I believe

21   Mr. Douyon, that's why you switched me to 84 -- that you

22   showed Mr. Berry was this one.       Do you recall -- is this

23   published to the jury?      Do you recall showing Mr. Berry this

24   video?

25   A.   I do.




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 1              MR. SHIPLEY:     What exhibit is that?

 2              MR. WOODWARD:     CM 83.    85 -- CM85.    Sorry, Your

 3   Honor, and madame court reporter.

 4              MR. SHIPLEY:     It's also SP-94.

 5   Q.   (BY MR. WOODWARD)     And after showing Mr. Berry this video,

 6   again, he did not say that this was the huddle where Kelly

 7   Meggs said this is where we're going to stop the vote count?

 8   A.   He did not, sir.

 9              MR. WOODWARD:     Thank you, sir.

10              THE COURT:     All right.    Agent Palian, thank you very

11   much.

12              Mr. Woodward, on behalf of Ms. Meggs?

13              MR. WOODWARD:     Your Honor, subject to the few

14   evidentiary issues we'll work out, on behalf of Ms. Meggs, we

15   rest.

16              THE COURT:     Okay.    Ladies and gentlemen, what you

17   have just heard over the last few minutes is that the defense

18   has now rested their cases.        The defense has rested their

19   cases.   Another important milestone in the case.          What it now

20   means, if you'll recall, is the government has the

21   opportunity --

22              MR. NESTLER:     Sorry, limiting instruction, Your

23   Honor.

24              THE COURT:     With respect to the -- I'll do this and

25   I'll repeat it at the end.        What you just saw the back and




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 1   forth with respect to Mr. Berry's statements, and you'll get

 2   more detailed instructions about this at the end.             You can use

 3   and consider a prior inconsistent statements made by Mr. Berry

 4   to evaluate his credibility.         Likewise, any prior consistent

 5   statements that Mr. Berry has made can also be used for his

 6   credibility, but however, cannot be used for establishing the

 7   truth of what he said in the prior statement.             And we'll

 8   provide you with some further instructions about that at the

 9   end.    But that's the basic way these prior statements can be

10   used by a jury.        Again, prior statements can be used, both

11   inconsistent and consistent, for evaluating his credibility

12   here in court.        But the statement cannot be used for

13   establishing the truth of what was said in the prior

14   statement.

15                Okay.     All right.   So the defense -- various

16   defendants have rested their case.          The government will have

17   an opportunity to present a rebuttal case.             So what we will do

18   now is adjourn for the day and start again tomorrow morning at

19   8:30, if the government chooses to present a rebuttal case and

20   we will go from there.        Yes, sir?

21                JUROR:     Did you say 8:30?

22                THE COURT:     Did I say 8:30?    9:30.     Thank you very

23   much.    See you in the morning.       Thank you, everyone.

24                (Jury left the courtroom.)

25                THE COURT:     Have a seat everybody, please.       All




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 1   right.    Can I ask defense counsel to just put your Rule 29s on

 2   the record, please.

 3                MR. MACHADO:     On behalf of Sandra Parker we renew

 4   our motions for the same reasons stated previously.

 5                MR. BRENNWALD:     Same for me.

 6                MR. COOPER:     Same for me, Your Honor.

 7                MR. ROSSI:     Your Honor, I make a Rule 29, reserve

 8   the right to file a written motion.

 9                MR. SHIPLEY:     We renew the motion previously made at

10   the close of the government's case.

11                MR. WOODWARD:     Just on the record, Judge, you don't

12   want to hear from us?        We renew our Rule 29 motion, Your

13   Honor.    Thank you, sir.

14                THE COURT:     Make sure you've preserved your

15   arguments.

16                Okay.   One reminder as we approach the close of the

17   case.    Just a reminder to make sure you all have exhibit lists

18   prepared for the jury that you exchange in advance to make

19   sure that they are sort of neutral enough in their description

20   of the exhibits that have been admitted, one.           Two, there were

21   some exhibits that I admitted conditionally in the defense

22   case that the government used in cross-examination.           And I

23   just want to remind the government to the extent that any

24   foundation needs to be laid for those exhibits, the

25   expectation is you're going to do that in your rebuttal




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 1   case.

 2                MR. EDWARDS:     Yes, sir.

 3                THE COURT:     We've been trying to keep track, and

 4   hopefully you have too, but we can send you a list of the

 5   exhibits we have as conditionally admitted subject to laying a

 6   further foundation.

 7                So what is -- what does it look like for tomorrow in

 8   the government's rebuttal in terms of timing?

 9                MR. NESTLER:     We have likely three witnesses, Your

10   Honor.     We will not fill the whole day.

11                THE COURT:     Can you give me a sense of how much time

12   you think you will fill?

13                MR. NESTLER:     Probably half day.   Depends how long

14   Dr. Josh Ashkenaze (phonetic) goes.         Dr. Ashkenaze, a law

15   enforcement witness and an FBI agent for clean up, including

16   foundational issues, so should be -- it should be about a half

17   day.

18                THE COURT:     So dare I ask the whole Mr. Cummings

19   issue is --

20                MR. NESTLER:     We proposed a compromise to the

21   defense, they want him here live.         We're not willing to push

22   him and his lawyer to force him to get on a plane from Oregon

23   to be here live.

24                THE COURT:     Okay.   So I've got a plea at 5:00

25   o'clock.     So instead of trying to jam into the next 15 minutes




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 1   our discussion about jury instructions, given what looks like

 2   to be the schedule, we should plan to discuss jury

 3   instructions tomorrow after the close of the government's

 4   case.    We circulated instructions last night, they did not

 5   incorporate the government's additional request instructions.

 6   Obviously, we'll have to talk about those as well.           And so

 7   we'll do that tomorrow.

 8               What that then means is the government will open --

 9   excuse me, close -- what that means is that I will instruct

10   Thursday morning, closing.       And then, Mr. Woodward, you will

11   get out of here a little bit later than perhaps we

12   anticipated, but since it will take me about an hour 15 or so,

13   at least -- probably take about an hour to read instructions,

14   if the last few trials are any indication.         And so, you can

15   estimate your departure based upon that.

16               MR. WOODWARD:     I'm not going to be able to go, Your

17   Honor.    And so is there any appetite for the Court to consider

18   doing that on Monday?

19               THE COURT:     You're telling me you can't go if you

20   have to leave midday Thursday?

21               MR. WOODWARD:     Correct.

22               MR. EDWARDS:     No disrespect to Mr. Woodward's family

23   plans, if we start accounting for family vacations, which I

24   truly appreciate Mr. Woodward's facing, how hard he's working.

25   My family has a vacation next week.        So if we start




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 1   considering vacation plans as to when the jury sits, I just --

 2   I'm not sure that's an appropriate consideration for in terms

 3   of making the jury not be here.        And they will be available

 4   for Thursday and Friday.      I don't mean to say that I would

 5   want to delay next week either, I just mean if we start

 6   considering those kinds of plans --

 7              THE COURT:     Well, let me ask you this, where is the

 8   defense and the government in terms of the instructions

 9   themselves?    How much do you all think we're going to need to

10   have to discuss the instructions?        At least from a substantive

11   point they are largely verbatim from the last trial.           We've

12   taken some out, added one or two that I thought were

13   appropriate for this case.       And I still need defense theory of

14   the case instruction.

15              MR. NESTLER:     Aside from the two supplements we

16   filed, Your Honor, and we haven't seen any of the defense

17   theory of the cases, it shouldn't be particularly complicated.

18   We are willing to move expeditiously tomorrow and hopefully,

19   if Your Honor wants to have the jury wait for a couple hours

20   in the afternoon to hopefully be able to instruct them

21   tomorrow afternoon, we're all on board for that to start

22   closings on Thursday morning rather than instructions on

23   Thursday morning, rather than instructions Thursday morning.

24   I don't know if that helps Mr. Woodward at all.

25              THE COURT:     Would that help?




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 1              MR. WOODWARD:     I'll take what I can get, Judge.

 2              THE COURT:     Okay.   Let's --

 3              MR. NESTLER:     We're willing to do a charging

 4   conference over lunch if Your Honor doesn't mind sort of

 5   moving through it.      We're willing to work on that, that's

 6   probably as far as we can go.

 7              THE COURT:     Okay.   I mean, I think it's probably the

 8   best we can do, if that helps you, let's do that.           Let's plan

 9   to do that.    Let's try and, you know, if there are going to be

10   extended discussions about jury instructions, please let us

11   know this evening and submit whatever you think you need to

12   submit in terms of substantive instructions.          So at least I

13   have an opportunity to take a look at whatever the issues may

14   be before we convene tomorrow.

15              Mr. Cooper.

16              MR. COOPER:     Yeah, Your Honor, before we break just

17   very, very quick, with respect to the jury instructions but

18   also with what's about to happen tomorrow, I'm looking at the

19   jury instruction, I'll be quick about this, about evidence

20   admitted against one defendant only and it says at the bottom,

21   "Unless I've previously instructed you otherwise, all other

22   evidence has been admitted against all defendants."           I don't

23   think that's appropriate with a rebuttal case coming.           I think

24   the jury needs to be informed that from this point forward any

25   other evidence that's being admitted is not admitted against




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 1   Ms. Steele.    It's rebuttal.

 2               THE COURT:     Fair enough.   I think I'll have to wait.

 3   I suppose one of the things that we should make clear on that

 4   list which may not be in there is that the expert testimony is

 5   only as to Mr. Isaacs, I don't think that -- I think that may

 6   be absent from the list.       So that at least resolves one of

 7   your issues.     I don't know what the government's witnesses are

 8   going to bring forward.

 9               MR. COOPER:     I don't have any doubt that the

10   government's going to -- going to violate that, but I think

11   the jury should know it, because the instruction says, "Unless

12   you've been previously instructed otherwise."

13               THE COURT:     Well, let me just see how it plays out

14   and then we can figure out what the instruction should say or

15   not say.

16               MR. COOPER:     Okay.

17               MR. MACHADO:     Your Honor, the Court -- has it been

18   decided that Mr. Woodward -- or the Connie Meggs case will be

19   closing first?     I mean, I don't mind.      I just want to know if

20   that's --

21               THE COURT:     Well, after the government.

22               MR. MACHADO:     I'm sorry?

23               THE COURT:     After the government.

24               MR. MACHADO:     After the government.

25               MR. NESTLER:     The only other issue we would like to




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 1   address today before we have to leave for Your Honor's plea is

 2   Mr. Isaacs' proffer, so we can prepare tonight what we're

 3   going to do tomorrow.

 4              THE COURT:     Mr. Isaac's proffer?

 5              MR. NESTLER:     The proffer -- the issue I flagged

 6   before the jury came in right during one of the breaks.

 7              THE COURT:     You don't mean the proffer, you mean the

 8   use of the video.

 9              MR. NESTLER:     The use of the video, so we know how

10   to prepare for what we're introducing tomorrow.

11              MR. ROSSI:     Your Honor, if Your Honor's going to

12   make -- allow us to leave?

13              THE COURT:     If anybody feels like -- are there any

14   other issues that are at that -- that are applicable to all

15   defendants?

16              MR. BRENNWALD:     No issues on the jury instructions,

17   but I'll send it out tonight if you want me to talk about

18   them.

19              THE COURT:     All right.    Fine.   So anybody who wishes

20   to leave other than Mr. Rossi can leave.

21              Mr. Rossi.

22              MR. ROSSI:     Oh, Your Honor, very briefly.       If Your

23   Honor's going to allow the video, could we just block out Mr.

24   Greene?   If Your Honor's going to allow that, please.          We

25   object, of course --




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 1               MR. NESTLER:     And we have no problem blocking out

 2   Mr. Greene.     We'll work on it technologically.

 3               THE COURT:     Okay.   So the government has proposed

 4   two ways in which the video could be admitted.          The first is

 5   through the expert who did look at the video in connection

 6   with her report.     And that she may in theory opine on -- well,

 7   it's not clear to me how she would opine or what she would

 8   opine on with respect to the FBI video.         I'm not going to

 9   allow it.     I looked back to her, I looked back to her report.

10   Her report, although it referenced and summarized the FBI

11   video, the proffer session that Mr. Isaacs had, it really did

12   not in her ultimate opinion section have very much to

13   seemingly to do with her opinion.        So I'm not going to permit

14   her to provide an opinion about Mr. Isaacs' demeanor during

15   the FBI proffer session that's on video.

16               In terms of whether Agent Palian can describe

17   Mr. Isaacs's demeanor during the session, I think I am going

18   to revert to where I was, and that is -- or -- let me back up,

19   I thought the government offered as an alternative that Agent

20   Palian -- the video would come through Agent Palian in

21   rebuttal.     And that as a fall-back he would be permitted to

22   describe Mr. Isaacs' demeanor during the proffer.

23               You can have a seat Mr. Rossi, unless you want to be

24   heard on something.

25               MR. ROSSI:     Oh, I'm sorry.




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 1              THE COURT:     I said, you can have a seat unless you

 2   want to be heard on something.

 3              MR. ROSSI:     I need to stretch my legs any way.

 4              THE COURT:     Bear with me a minute.

 5              Mr. Rossi, let me ask you a question, have you

 6   formulated a view at this point about what you are going to

 7   say about Mr. Isaacs' demeanor in your closing?

 8              MR. ROSSI:     I'm going to say to the jury, there's

 9   going to be a jury instruction on credibility.          And I will try

10   my best to file the exact language of the credibility.            I'm

11   not going to emphasize, you saw a individual that had autism,

12   you saw his responses.      To be very blunt, Your Honor, I don't

13   think I need to do that.      If I just mention that they judge

14   credibility, that's enough for me.

15              THE COURT:     Okay.

16              MR. ROSSI:     I'm going to mention autism, but I'm not

17   going to harp on, you know, his head was down and he wanted to

18   stop.   I don't think I need to.       I think it's already etched

19   in their brain.

20              THE COURT:     Here's what the proffer agreement says:

21   Third, in the event your client is ever a witness, or presents

22   evidence or arguments through other witnesses, at trial or at

23   any other proceeding, and your client's statements or that

24   evidence contradicts statements made in your client's

25   debriefing, attorney or agent for the Government may




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 1   cross-examine your client and other witnesses concerning any

 2   statements made or other information provided by your client

 3   during the debriefings and may use any statements or evidence

 4   in any pleadings it files.       Evidence regarding such statements

 5   may also be introduced in rebuttal.

 6              Look, I think what I'm grappling with, and the

 7   reason I asked you the question Mr. Rossi, is that if you are

 8   intending to argue to the jury that based upon Mr. Isaacs'

 9   demeanor here in court, you can infer, or you can come to the

10   conclusion that he would not have been able to form the

11   requisite intent on January 6.       For example, if you were

12   intending to get up and argue, you saw what he was like today,

13   or you saw what he was like while he was on the stand, ladies

14   and gentlemen, can you imagine what it was lake for him on

15   January 6th?    If you intend to make that kind of argument --

16              MR. ROSSI:     I think I can't help but make impliedly

17   if not expressly that argument.        And if I do, Your Honor, is

18   Your Honor saying that Mr. Palian -- or Agent Palian, I'm

19   sorry, that Agent Palian can just describe his demeanor.

20              THE COURT:     That's what I'm trying to figure out,

21   because I'm sorry to interrupt Mr. Rossi, because again, this

22   says in the event your client is a witness or presents

23   evidence or arguments through other witnesses, that's why I'm

24   asking.

25              MR. ROSSI:     Your Honor, can I make life easy for the




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 1   Court.   If it gives me a little more flexibility in my

 2   closing, I think we could agree that Mr.         -- Agent Palian can

 3   describe his demeanor.      As long as we don't have the videos,

 4   I'm okay.    As long as we don't have the audio recording.          But

 5   if he wants to describe the demeanor, as long as it's not, you

 6   know, 30 minutes of description, I will allow -- I will agree

 7   to that as long as I have a little flexibility in my closing.

 8   And I'm not going to be over the top.

 9               THE COURT:    Let me just spin out for you what my

10   thinking is in two steps.

11               MR. ROSSI:    Sure.

12               THE COURT:    One is, again, the proffer agreement

13   allows use of the debriefing, not only with respect to

14   presentation of evidence, but also presentation of argument.

15               MR. ROSSI:    Of what, Your Honor?

16               THE COURT:    Of argument, arguments.      And if you

17   intend to say to the jury, as I've suggested that, you know,

18   you saw what he was like here in court, imagine what it was

19   like for him on January the 6th, that seems to me to be an

20   argument that is arguably -- sorry for the two arguments -- is

21   an argument that would contradict statements made by your

22   client during the debriefing.

23               MR. ROSSI:    I --

24               THE COURT:    And I say that because, to be perfectly

25   candid, your client's demeanor, at least in the six clips I've




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 1   seen, is worlds apart from what it was here in court.           And you

 2   know, he's calm, he's collected.        He doesn't seem under

 3   distress.    He's not wearing his headphones.        Now, again it's a

 4   small room with a small number of people.         And he's not being

 5   quite pressed in the way that he was on cross-examination and,

 6   frankly, even by Mr. Greene.       And so maybe there's some

 7   differences and the reason his conduct was different here in

 8   court.

 9               But again, if you're intending to argue that his

10   demeanor here shows -- you can be convinced, ladies and

11   gentlemen, that on January 6th you can imagine what it was

12   like for him.    I think I'm in the position where I've got to

13   be able to -- well, that the proffer agreement permits the

14   government to bring in what his demeanor was like during the

15   proffer session, one.      Two, if we're in agreement that the

16   government can bring it in, it seems to me the best evidence

17   of it is the video and not Agent Palian's description of his

18   demeanor.

19               MR. ROSSI:    I was going to say Hobson's choice, but

20   Hobson's choice there is no choice.

21               THE COURT:    You want to think about it.

22               MR. ROSSI:    Let me -- if I agree not to make that

23   argument, Your Honor, in my closing would it be Mr.           -- Agent

24   Palian just describing and no video?

25               THE COURT:    No.   I mean, I'm not sure then I would




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 1   permit it at all.     Look, the door only gets opened if you're

 2   going to make arguments that contradicts statements of your

 3   client during the debriefing.       And I think given the argument

 4   that I've just spun out that you might make, I think under a

 5   reading of this proffer agreement that evidence relating to

 6   his demeanor that is inconsistent with the argument is fair

 7   game.

 8              MR. ROSSI:     Okay.   Your Honor, just so I'm clear

 9   because I think I can give an answer, if the Court allows me

10   to make those arguments in my closing, in the manner that Your

11   Honor just said, I think I'm willing to take the risk of

12   having the video.

13              THE COURT:     Okay.

14              MR. ROSSI:     As long as Mr. Greene's blocked out.

15              THE COURT:     Okay.

16              MR. ROSSI:     I will have opportunity to cross Agent

17   Palian on the circumstances?

18              THE COURT:     Of course.

19              MR. ROSSI:     Okay.   As long as Mr. Greene's blocked

20   out, I think it's -- I think I'm willing to make that bargain.

21   But bear in mind, I don't want to waive my right that we want

22   to keep it all out.

23              THE COURT:     No, I understand.     I'm trying to --

24   well, you understand where I'm coming from.

25              MR. ROSSI:     Yes, absolutely, Judge.      And I want to




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 1   be clear, because I'm a little tired now, is Your Honor

 2   keeping the video out during the expert?

 3                THE COURT:     Yes.

 4                MR. ROSSI:     Okay.   Thank you.   Right now I'm just

 5   limiting it to the six that the government has presented to me

 6   and presumably Mr. Rossi has seen those six?

 7                MR. ROSSI:     Yes, I looked at them with the

 8   assistance of Mr. Woodward.

 9                THE COURT:     Okay.   And we'll get those from a

10   different angle that does not include Mr. --

11                MR. NESTLER:     We'll work on blurring or excising.

12                MR. ROSSI:     Mr. Nestler can show me tomorrow.      I

13   trust him.     Your Honor, we'll accept that.

14                MR. NESTLER:     Your Honor, so that's fine.     We'll

15   proceed with those six.        There may be other portions of the

16   interview that we're going to want to use for impeachment.

17   I'll make sure I flag those for Mr. Rossi.          I'm sitting down

18   with Agent Palian as soon as this is done and going over the

19   full interview.     And in light of the transcript from

20   Mr. Isaacs's testimony yesterday there may be a couple of

21   other instances that are important for us to highlight, as we

22   highlight this in light of what Mr. Rossi wants to argue in

23   closing.     So I think that's fine, I just want to flag that for

24   the Court.     We'll let the defense know.

25                MR. ROSSI:     Just so I'm clear, does that mean more




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 1   videos?

 2               MR. NESTLER:     Yeah, but limited to certain small

 3   facts.    I'll be up front with the Court right now.         There were

 4   a couple different times where Mr. Isaacs was the one who

 5   proffered an analogy.       And we think that's important, because

 6   that does rebut an argument or evidence presented by the

 7   defense case that's through Dr. Sperry, which is that he's a

 8   literal thinker and cannot use analogies and metaphors.            And

 9   so we believe that door is already open.         So an example of

10   Mr. Isaac saying, let me describe it to you this way, it's

11   like the movie 300.      And giving a description like that we

12   think does go to impeachment.

13               THE COURT:     Well, I want to sort of go back to where

14   we were at the very beginning of this and what I've ruled.

15   You know, again, the sort of ground on which arguments can be

16   made, it seems to me, about how autism effects his -- whether

17   he had the requisite state of mind or had the capacity to form

18   the requisite state of mind, really came down to four points;

19   it was the issue of mind blindness, it was the issue of his

20   intellect, it was the issue of his ability to appreciate right

21   from wrong, and his ability to executive functioning,

22   executive processing.       Those were the four traits that I

23   thought were relevant to the issue of his intent.

24               I don't think, or at least I thought I had said that

25   the issue of whether he's a literal thinker or not, I know it




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 1   was referenced in the testimony, in both passing and perhaps

 2   directly, is something that really does go to his intent.               He

 3   said what he said.      And I'm not -- I don't know that I'm

 4   permitting either side to argue that something -- that because

 5   of his autism you can't literally or not literally take what

 6   he has said, either in his messages or here in court.

 7              MR. NESTLER:     We understand Your Honor's point.

 8   Mr. Isaacs testified that when he used words he didn't mean

 9   them.   So he testified when he used things about Trump

10   crossing the Delaware or Trump crossing the Rubicon, where

11   citizens have to cross the Delaware, and when he made comments

12   about Mayor Bowser he didn't mean them.

13              THE COURT:     I'd have to look and see what he said,

14   but I thought --

15              MR. ROSSI:     And I disagree on with Mr. Nestler on

16   that, Your Honor.

17              THE COURT:     I'll just look at the transcript.        I

18   thought -- my recollection of what he said about crossing the

19   Delaware is that he didn't, frankly, say very much, I think he

20   just kind of demurred.

21              MR. ROSSI:     But he admitted --

22              THE COURT:     He made the statement.

23              MR. ROSSI:     Well, about the mayor, he admitted that

24   he just said it was in a fit of anger.

25              THE COURT:     I think that's right.




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 1              MR. NESTLER:     That's fine, Your Honor.       We'll stick

 2   with our six clips, but Agent Palian will describe sort of the

 3   proffer and the procedure more generally, how it was set up

 4   and how he viewed it and his observations during the

 5   meeting.

 6              THE COURT:     Well -- no, I mean you can play the

 7   video clips, but his observations are off the table.           Because

 8   the video is the best evidence.        You can argue based on the

 9   video not going to permit Agent Palian to provide his own

10   opinion about it.

11              MR. NESTLER:     Sorry, when I say his observations or

12   his opinions, I'm just going to say generally, it lasted for

13   three hours, there were questions of Mr. Isaacs, he didn't ask

14   for any breaks, and Mr. Isaacs volunteered several analogies.

15   That is the gist of what I'm getting at.

16              MR. ROSSI:     I think there was one break.

17              MR. NESTLER:     There was a break and Mr. Isaacs

18   didn't request it.

19              MR. ROSSI:     Uh --

20              MR. NESTLER:     But regardless that's a factual thing,

21   that's fine.    My point is that we're getting into how a

22   proffer was conducted, we would like Agent Palian to be able

23   to give the context of how the proffer was --

24              MR. ROSSI:     Judge, I want -- I don't want to go

25   there, because then I have to call Mr. Greene to say that




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 1   there was, you know, a wink and a nod, let's take a break.              I

 2   don't want to go there.       They don't need that.

 3               THE COURT:     So I would -- and we can scope this out

 4   tomorrow.     But I would very much like to be very limited in

 5   what's coming through Agent Palian.          What's a proffer.    How

 6   long was it.     I asked questions.       You know, we told him he

 7   needed to be truthful.       And then play the video clips and be

 8   done.   Okay.

 9               MR. ROSSI:     That's fine, Your Honor.     That's fine.

10               THE COURT:     Right.   I mean, that's what you would do

11   otherwise if you were cross-examining somebody with prior

12   statements.

13               MR. ROSSI:     That's fine.

14               THE COURT:     This is where you were, this is what you

15   were told about being truthful, and these are the statements

16   you made.     Okay.

17               MR. NESTLER:     Yes, Your Honor.

18               MR. ROSSI:     Thank you, Judge.

19               THE COURT:     Keep it very tight.

20               MR. ROSSI:     Fair enough.

21               MR. MACHADO:     Your Honor, as to the one clip that we

22   have a concern about, I don't know if the government is -- it

23   appears they have six clips.        We just want to remove the part

24   of a question and answer that had no question to analogy or

25   anything like that, but just simply that he identifies that




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 1   these two old people from Ohio, which are --

 2                THE COURT:     All right, I'll -- in order to remove

 3   the confrontation issue and, frankly, to, you know,           -- it's

 4   not accurate that either of them had patches on, correct?               I

 5   don't think there's evidence that either of them had patches

 6   on.     Now, he may have been referring to Ms. Watkins, but to

 7   sort of take out the issue of confrontation to put Mr. Isaacs

 8   back on the stand for limited cross-examination about whether

 9   he observed patches or not, and since that portion doesn't --

10   I mean, to some extent it meets the impeachment.

11                MR. NESTLER:     We can redact the four words that says

12   they had patches, but we can leave the older couple from

13   Ohio.

14                MR. MACHADO:     There was a question and an answer I

15   want removed.     I'll go through it again, it's -- I don't think

16   it's necessary.

17                THE COURT:     All right.   Well, talk to Mr. Nestler as

18   to what you want out.        But what I'm hearing you say Mr.

19   Machado, on behalf of Mr. Brennwald, is that you are not

20   exercising confrontation rights unless the video contains

21   reference to patches.

22                MR. MACHADO:     The question and answer that had to do

23   with patches.     There's discussion of them and we have no

24   problem with them, old people from Ohio, or something to that

25   effect.     No problem.




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 1                THE COURT:   Okay.   Fine.   I think we're all on the

 2   same page.     Thank you everyone.     See you tomorrow.

 3                (The proceedings were concluded at 5:13 p.m.)

 4
               I, Christine Asif, RPR, FCRR, do hereby certify that
 5   the foregoing is a correct transcript from the stenographic
     record of proceedings in the above-entitled matter.
 6
                          _________/s/______________
 7                             Christine T. Asif
                           Official Court Reporter
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